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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                       APPROXIMATE                                         PHARMACY      PHARMACY      PHARMACY
COUNT WAS WRITTEN          NAME              DATE           DRUG PRESCRIBED       QTY          NAME          CITY          STATE
                                                                                        OLDE VIRGINIA
  3        RB        BATTAGLIA, ROBERT     9/3/2015         MS CONTIN/15MG        60                       TAZEWELL         VA
                                                                                        PHARMACY
                                                                                        CAVALIER
  4        RB        BATTAGLIA, ROBERT     9/3/2015         OXYCODONE/30MG        120                    MARTINSVILLE       VA
                                                                                        PHARMACARE
                                                                                        DICKENSON DRUG
  5        RB        BATTAGLIA, ROBERT     10/1/2015        OXYCODONE/20MG        90                     RURAL RETREAT      VA
                                                                                        COMPANY
                                                                                        DICKENSON DRUG
  6        RB        BATTAGLIA, ROBERT     10/1/2015        OXYCONTIN/60MG        60                     RURAL RETREAT      VA
                                                                                        COMPANY
                                                                                        OLDE VIRGINIA
  7        RB        BATTAGLIA, ROBERT     10/29/2015       OXYCODONE/20MG        90                       TAZEWELL         VA
                                                                                        PHARMACY
                                                                                        CHILHOWIE DRUG
  8        RB        BATTAGLIA, ROBERT     11/17/2015       OXYCONTIN/60MG        60                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  9        RB        BATTAGLIA, ROBERT     11/30/2015       OXYCODONE/30MG        90                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  10       RB        BATTAGLIA, ROBERT     11/30/2015       OXYCONTIN/60MG        60                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  11       RB        BATTAGLIA, ROBERT     1/6/2016         OXYCODONE/30MG        90                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  12       RB        BATTAGLIA, ROBERT     1/6/2016         OXYCONTIN/60MG        60                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  13       RB        BATTAGLIA, ROBERT     2/5/2016     FENTANYL PATCH/25MCG/HR   10                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  14       RB        BATTAGLIA, ROBERT     2/5/2016         OXYCODONE/30MG        75                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  15       RB        BATTAGLIA, ROBERT     3/9/2016          OPANA ER/20MG        90                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  16       RB        BATTAGLIA, ROBERT     3/9/2016         OXYCODONE/30MG        75                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  17       RB        BATTAGLIA, ROBERT     4/11/2016         OPANA ER/20MG        90                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  18       RB        BATTAGLIA, ROBERT     4/11/2016        OXYCODONE/30MG        75                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  19       RB        BATTAGLIA, ROBERT     5/11/2016        OXYCODONE/20MG        90                      CHILHOWIE         VA
                                                                                        COMPANY, INC.
                                                                                        CHILHOWIE DRUG
  20       RB        BATTAGLIA, ROBERT     5/11/2016      OXYMORPHONE/30MG        60                      CHILHOWIE         VA
                                                                                        COMPANY, INC.

  21       FB          BLAIR, FRANK        9/10/2015        OXYCODONE/20MG        120   BUFFALO DRUG       BUFFALO         WV

  22       FB          BLAIR, FRANK        9/10/2015      OXYMORPHONE/20MG        60    BUFFALO DRUG       BUFFALO         WV

                                                                                        POCA VALU-RITE
  23       FB          BLAIR, FRANK        11/9/2015        OXYCODONE/20MG        75                         POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
  24       FB          BLAIR, FRANK        11/9/2015      OXYMORPHONE/40MG        60                         POCA          WV
                                                                                        PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                  APPROXIMATE                                                PHARMACY       PHARMACY     PHARMACY
COUNT WAS WRITTEN       NAME            DATE            DRUG PRESCRIBED             QTY          NAME           CITY         STATE
                                                                                          POCA VALU-RITE
  25       FB        BLAIR, FRANK     12/14/2015        OXYCODONE/20MG              60                          POCA         WV
                                                                                          PHARMACY
                                                      OXYMORPHONE/30MG                    POCA VALU-RITE
  26       FB        BLAIR, FRANK     12/14/2015                                    90                          POCA         WV
                                                   OXYMORPHONE/40MG in indictment         PHARMACY
                                                                                          POCA VALU-RITE
  27       FB        BLAIR, FRANK     1/12/2016         OXYCODONE/20MG              60                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  28       FB        BLAIR, FRANK     1/12/2016       OXYMORPHONE/30MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  29       FB        BLAIR, FRANK     2/9/2016          OXYCODONE/20MG              45                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  30       FB        BLAIR, FRANK     2/9/2016        OXYMORPHONE/30MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  31       FB        BLAIR, FRANK     3/10/2016          OPANA ER/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  32       FB        BLAIR, FRANK     3/10/2016         OXYCODONE/20MG              30                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  33       FB        BLAIR, FRANK     4/7/2016           OPANA ER/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  34       FB        BLAIR, FRANK     4/7/2016          OXYCODONE/20MG              45                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  35       FB        BLAIR, FRANK     4/27/2016          OPANA ER/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  36       FB        BLAIR, FRANK     4/27/2016         OXYCODONE/20MG              45                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  37       FB        BLAIR, FRANK     5/25/2016         OXYCODONE/20MG              45                          POCA         WV
                                                                                          PHARMACY
                                                                                          MEDS 2 GO EXPRESS
  38       FB        BLAIR, FRANK     5/25/2016       OXYMORPHONE/40MG              90                        ALUM CREEK     WV
                                                                                          PHARMACY
                                                                                          MEDS 2 GO EXPRESS
  39       FB        BLAIR, FRANK     6/23/2016         OXYCODONE/20MG              45                        ALUM CREEK     WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  40       FB        BLAIR, FRANK     6/23/2016       OXYMORPHONE/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          MEDS 2 GO EXPRESS
  41       FB        BLAIR, FRANK     7/21/2016         OXYCODONE/20MG              45                        ALUM CREEK     WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  42       FB        BLAIR, FRANK     7/21/2016       OXYMORPHONE/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  43       FB        BLAIR, FRANK     8/18/2016         OXYCODONE/20MG              30                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  44       FB        BLAIR, FRANK     8/18/2016       OXYMORPHONE/40MG              90                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  45       FB        BLAIR, FRANK     10/10/2016        OXYCODONE/20MG              20                          POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
  46       FB        BLAIR, FRANK     10/10/2016      OXYMORPHONE/40MG              90                          POCA         WV
                                                                                          PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                         PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME              DATE          DRUG PRESCRIBED        QTY          NAME                CITY           STATE
                                                                                      POCA VALU-RITE
  47       FB         BLAIR, FRANK       11/10/2016      OXYCODONE/20MG         20                               POCA           WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
  48       FB         BLAIR, FRANK       11/10/2016     OXYMORPHONE/40MG        90                               POCA           WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
  49       FB         BLAIR, FRANK       12/12/2016     OXYMORPHONE/40MG        90                               POCA           WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
  50       FB         BLAIR, FRANK       1/6/2017        OXYCODONE/20MG         20                               POCA           WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
  51       FB         BLAIR, FRANK       1/6/2017       OXYMORPHONE/40MG        90                               POCA           WV
                                                                                      PHARMACY
                                                                                      MIKE'S BEST PRACTICE
  52       FB         BLAIR, FRANK       2/2/2017        OXYCODONE/20MG         20                            WYTHEVILLE         VA
                                                                                      PHARMACY
                                                                                      MIKE'S BEST PRACTICE
  53       FB         BLAIR, FRANK       2/2/2017       OXYMORPHONE/40MG        90                            WYTHEVILLE         VA
                                                                                      PHARMACY
                                                                                      MIKE'S BEST PRACTICE
  54       FB         BLAIR, FRANK       3/2/2017        OXYCODONE/20MG         15                            WYTHEVILLE         VA
                                                                                      PHARMACY
                                                                                      MIKE'S BEST PRACTICE
  55       FB         BLAIR, FRANK       3/2/2017       OXYMORPHONE/40MG        90                            WYTHEVILLE         VA
                                                                                      PHARMACY
                                                                                      OLDE VIRGINIA
  56       SB        BLEVINS, STEVEN     9/2/2015         MS CONTIN/30MG        60                             TAZEWELL          VA
                                                                                      PHARMACY
                                                                                      OLDE VIRGINIA
  57       SB        BLEVINS, STEVEN     9/2/2015        OXYCODONE / 30MG       120                            TAZEWELL          VA
                                                                                      PHARMACY
                                                                                      OLDE VIRGINIA
  58       SB        BLEVINS, STEVEN     10/1/2015    MORPHINE SULFATE / 30MG   90                             TAZEWELL          VA
                                                                                      PHARMACY
                                                                                      OLDE VIRGINIA
  59       SB        BLEVINS, STEVEN     10/1/2015       OXYCODONE / 30MG       60                             TAZEWELL          VA
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  60       GB        BOWMAN, GENEVA      10/27/2015      OXYCODONE/15MG         60                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  61       GB        BOWMAN, GENEVA      10/27/2015     OXYMORPHONE/20MG        90                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  62       GB        BOWMAN, GENEVA      11/30/2015      OXYCODONE/15MG         60                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  63       GB        BOWMAN, GENEVA      11/30/2015     OXYMORPHONE/20MG        90                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  64       GB        BOWMAN, GENEVA      1/4/2016        OXYCODONE/15MG         45                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  65       GB        BOWMAN, GENEVA      1/4/2016       OXYMORPHONE/20MG        90                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  66       GB        BOWMAN, GENEVA      1/20/2016       OXYCODONE/15MG         30                           JEFFERSONVILLE      IN
                                                                                      PHARMACY
                                                                                      KENTUCKIANA
  67       GB        BOWMAN, GENEVA      1/20/2016      OXYMORPHONE/40MG        60                           JEFFERSONVILLE      IN
                                                                                      PHARMACY

  68       GB        BOWMAN, GENEVA      2/3/2016        OXYCODONE/15MG         20    BUFFALO DRUG              BUFFALO         WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                         PHARMACY          PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME             DATE          DRUG PRESCRIBED      QTY            NAME              CITY           STATE

  69       GB        BOWMAN, GENEVA     2/3/2016      OXYMORPHONE/40MG        60    BUFFALO DRUG             BUFFALO         WV

                                                                                    OLDE VIRGINIA
  70       GB        BOWMAN, GENEVA     3/22/2016      OXYCODONE/30MG         150                           TAZEWELL          VA
                                                                                    PHARMACY

  71       GB        BOWMAN, GENEVA     4/21/2016        OPANA ER/40MG        60    BUFFALO DRUG             BUFFALO         WV

  72       GB        BOWMAN, GENEVA     4/21/2016      OXYCODONE/30MG         60    BUFFALO DRUG             BUFFALO         WV

  73       GB        BOWMAN, GENEVA     5/18/2016      OXYCODONE/30MG         60    BUFFALO DRUG             BUFFALO         WV

  74       GB        BOWMAN, GENEVA     5/18/2016     OXYMORPHONE/40MG        60    BUFFALO DRUG             BUFFALO         WV

                                                                                    POCA VALU-RITE
  75       GB        BOWMAN, GENEVA     6/21/2016      OXYCODONE/30MG         60                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  76       GB        BOWMAN, GENEVA     6/21/2016     OXYMORPHONE/40MG        60                              POCA           WV
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
  77       GB        BOWMAN, GENEVA     7/18/2016      OXYCODONE/30MG         55                          JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
  78       GB        BOWMAN, GENEVA     7/18/2016     OXYMORPHONE/40MG        60                          JEFFERSONVILLE      IN
                                                                                    PHARMACY

  79       JB        BOWMAN, JASON      9/11/2015    MORPHINE SULFATE/15MG    90    RITE AID OF WV #294    CHARLESTON        WV

  80       JB        BOWMAN, JASON      9/11/2015      OXYCODONE/30MG         90    RITE AID OF WV #294    CHARLESTON        WV

                                                                                    KENTUCKIANA
  81       JB        BOWMAN, JASON      11/12/2015      OXYCODONE/15MG        60                          JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
  82       JB        BOWMAN, JASON      11/12/2015    OXYMORPHONE/30MG        90                          JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    OLDE VIRGINIA
  83       JB        BOWMAN, JASON      12/14/2015      OXYCODONE/15MG        30                            TAZEWELL          VA
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  84       JB        BOWMAN, JASON      12/14/2015    OXYMORPHONE/40MG        90                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  85       JB        BOWMAN, JASON      1/6/2016        OXYCODONE/15MG        20                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  86       JB        BOWMAN, JASON      1/6/2016      OXYMORPHONE/40MG        90                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  87       JB        BOWMAN, JASON      2/3/2016        OXYCODONE/15MG        10                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  88       JB        BOWMAN, JASON      2/3/2016      OXYMORPHONE/40MG        90                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  89       JB        BOWMAN, JASON      3/2/2016         OPANA ER/40MG        90                              POCA           WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
  90       JB        BOWMAN, JASON      3/2/2016        OXYCODONE/15MG        10                              POCA           WV
                                                                                    PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                                               PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME               DATE                    DRUG PRESCRIBED                    QTY          NAME                CITY           STATE
                                                                                                               POCA VALU-RITE
  91       JB          BOWMAN, JASON        4/7/2016                   OPANA ER/40MG                     90                               POCA           WV
                                                                                                               PHARMACY
                                                                                                               POCA VALU-RITE
  92       JB          BOWMAN, JASON        4/7/2016                  OXYCODONE/20MG                     15                               POCA           WV
                                                                                                               PHARMACY
                                                                                                               OLDE VIRGINIA
  93       JB          BOWMAN, JASON        5/9/2016                  OXYCODONE/20MG                     10                             TAZEWELL          VA
                                                                                                               PHARMACY
                                                                                                               POCA VALU-RITE
  94       JB          BOWMAN, JASON        5/9/2016                OXYMORPHONE/40MG                     90                               POCA           WV
                                                                                                               PHARMACY
                                                                                                               KENTUCKIANA
  95       JB          BOWMAN, JASON        6/14/2016                 OXYCODONE/20MG                     10                           JEFFERSONVILLE      IN
                                                                                                               PHARMACY
                                                                                                               POCA VALU-RITE
  96       JB          BOWMAN, JASON        6/14/2016               OXYMORPHONE/40MG                     90                               POCA           WV
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
  97       JB          BOWMAN, JASON        7/12/2016                 OXYCODONE/20MG                     45                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
  98       JB          BOWMAN, JASON        7/12/2016               OXYMORPHONE/40MG                     60                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
  99       JB          BOWMAN, JASON        8/11/2016                 OXYCODONE/20MG                     60                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
 100       JB          BOWMAN, JASON        8/11/2016               OXYMORPHONE/20MG                     60                            WYTHEVILLE         VA
                                                                                                               PHARMACY

                                                       DELIBERATELY LEFT BLANK - THERE IS NO COUNT 101

                                                                                                               OLDE VIRGINIA
 102       DB         BROWN, DEBORAH        9/1/2015                 OXYCODONE / 30MG                    120                            TAZEWELL          VA
                                                                                                               PHARMACY

 103       CC        COLEGROVE, CLAYTON     4/7/2016                   OPANA ER/20MG                     60    BUFFALO DRUG              BUFFALO         WV

 104       CC        COLEGROVE, CLAYTON     4/7/2016                  OXYCODONE/20MG                     60    BUFFALO DRUG              BUFFALO         WV

 105       CC        COLEGROVE, CLAYTON     5/3/2016                   OPANA ER/30MG                     60    BUFFALO DRUG              BUFFALO         WV

 106       CC        COLEGROVE, CLAYTON     5/3/2016                  OXYCODONE/20MG                     60    BUFFALO DRUG              BUFFALO         WV

 107       CC        COLEGROVE, CLAYTON     6/6/2016                  OXYCODONE/20MG                     60    BUFFALO DRUG              BUFFALO         WV

 108       CC        COLEGROVE, CLAYTON     6/6/2016                OXYMORPHONE/30MG                     60    BUFFALO DRUG              BUFFALO         WV

                                                                                                               MIKE'S BEST PRACTICE
 109       CC        COLEGROVE, CLAYTON     7/5/2016                  OXYCODONE/20MG                     60                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
 110       CC        COLEGROVE, CLAYTON     7/5/2016                OXYMORPHONE/30MG                     60                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
 111       CC        COLEGROVE, CLAYTON     8/5/2016                  OXYCODONE/20MG                     30                            WYTHEVILLE         VA
                                                                                                               PHARMACY
                                                                                                               MIKE'S BEST PRACTICE
 112       CC        COLEGROVE, CLAYTON     8/5/2016                OXYMORPHONE/30MG                     30                            WYTHEVILLE         VA
                                                                                                               PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                                       PHARMACY           PHARMACY      PHARMACY
COUNT WAS WRITTEN          NAME               DATE               DRUG PRESCRIBED                 QTY          NAME               CITY          STATE
                                                                                                       MIKE'S BEST PRACTICE
 113       CC        COLEGROVE, CLAYTON     11/7/2016            OXYCODONE/15MG                  30                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       OLDE VIRGINIA
 114       JC         CRAYCRAFT, JANET      8/31/2015            OXYCODONE/30MG                  120                           TAZEWELL         VA
                                                                                                       PHARMACY
                                                                                                       OLDE VIRGINIA
 115       JC         CRAYCRAFT, JANET      9/1/2015              MS CONTIN/30MG                 60                            TAZEWELL         VA
                                                                                                       PHARMACY
                                                                                                       K MART PHARMACY
 116       JC         CRAYCRAFT, JANET      9/30/2015       MORPHINE SULFATE / 30MG              90                           MARTINSVILLE      VA
                                                                                                       #3754
                                                                                                       K MART PHARMACY
 117       JC         CRAYCRAFT, JANET      9/30/2015            OXYCODONE / 15MG                90                           MARTINSVILLE      VA
                                                                                                       #3754
                                                                                                       WAL-MART PHARMACY
 118       JC         CRAYCRAFT, JANET      11/3/2015            OXYCODONE / 30MG                90                            ROANOKE          VA
                                                                                                       10-2312
                                                                MS CONTIN/15MG                         OLDE VIRGINIA
 119       TD          DAMRON, TIMMY        8/26/2015                                            30                            TAZEWELL         VA
                                                         MORPHINE SULFATE / 15MG in indictment         PHARMACY
                                                                                                       OLDE VIRGINIA
 120       TD          DAMRON, TIMMY        8/26/2015            OXYCODONE / 30MG                120                           TAZEWELL         VA
                                                                                                       PHARMACY
                                                                                                       WAL-MART PHARMACY
 121       TD          DAMRON, TIMMY        9/30/2015            OXYCODONE / 15MG                120                          MIDDLETOWN        KY
                                                                                                       10-4450

 122       HD          DANIELS, HASSEL      3/31/2016              OPANA ER/10MG                 60    BUFFALO DRUG             BUFFALO        WV

 123       HD          DANIELS, HASSEL      3/31/2016            PERCOCET/5/325MG                60    BUFFALO DRUG             BUFFALO        WV

                                            4/28/2016
 124       HD          DANIELS, HASSEL                             OPANA ER/20MG                 60    BUFFALO DRUG             BUFFALO        WV
                                            4/18/2016

 125       HD          DANIELS, HASSEL      4/28/2016            OXYCODONE/10MG                  45    BUFFALO DRUG             BUFFALO        WV

 126       HD          DANIELS, HASSEL      6/2/2016             OXYCODONE/20MG                  30    BUFFALO DRUG             BUFFALO        WV

 127       HD          DANIELS, HASSEL      6/2/2016           OXYMORPHONE/20MG                  60    BUFFALO DRUG             BUFFALO        WV

                                                                                                       MIKE'S BEST PRACTICE
 128       HD          DANIELS, HASSEL      6/30/2016            OXYCODONE/20MG                  30                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 129       HD          DANIELS, HASSEL      6/30/2016          OXYMORPHONE/20MG                  60                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 130       HD          DANIELS, HASSEL      8/4/2016             OXYCODONE/15MG                  45                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 131       HD          DANIELS, HASSEL      8/4/2016           OXYMORPHONE/20MG                  60                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 132       HD          DANIELS, HASSEL      9/5/2016             OXYCODONE/15MG                  45                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 133       HD          DANIELS, HASSEL      9/5/2016           OXYMORPHONE/20MG                  60                           WYTHEVILLE        VA
                                                                                                       PHARMACY
                                                                                                       MIKE'S BEST PRACTICE
 134       HD          DANIELS, HASSEL      11/14/2016         OXYMORPHONE/30MG                  60                           WYTHEVILLE        VA
                                                                                                       PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                       PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME              DATE        DRUG PRESCRIBED       QTY           NAME                CITY           STATE
                                                                                    MIKE'S BEST PRACTICE
 135       HD        DANIELS, HASSEL     12/14/2016   OXYMORPHONE/30MG        60                            WYTHEVILLE         VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 136       HD        DANIELS, HASSEL     1/11/2017    OXYMORPHONE/30MG        60                            WYTHEVILLE         VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 137       HD        DANIELS, HASSEL     2/7/2017     OXYMORPHONE/30MG        60                            WYTHEVILLE         VA
                                                                                    PHARMACY

 138       HD        DANIELS, HASSEL     4/24/2017    OXYMORPHONE/30MG        60    CAVALIER PHARMACY          WISE            VA

 139       HD        DANIELS, HASSEL     5/31/2017    OXYMORPHONE/30MG        60    CAVALIER PHARMACY          WISE            VA

 140       HD        DANIELS, HASSEL     6/27/2017    OXYMORPHONE/30MG        60    CAVALIER PHARMACY          WISE            VA

 141       HD        DANIELS, HASSEL     7/27/2017    OXYMORPHONE/30MG        60    CAVALIER PHARMACY          WISE            VA

 142       RD        DANIELS, ROBERT     9/25/2015     OXYCODONE/20MG         90    BUFFALO DRUG              BUFFALO         WV

 143       RD        DANIELS, ROBERT     9/25/2015    OXYMORPHONE/30MG        60    BUFFALO DRUG              BUFFALO         WV

                                                                                    KENTUCKIANA
 144       RD        DANIELS, ROBERT     10/27/2015    OXYCODONE/15MG         60                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 145       RD        DANIELS, ROBERT     10/27/2015   OXYMORPHONE/30MG        90                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 146       RD        DANIELS, ROBERT     11/23/2015    OXYCODONE/15MG         30                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 147       RD        DANIELS, ROBERT     11/23/2015   OXYMORPHONE/40MG        90                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 148       RD        DANIELS, ROBERT     12/21/2015    OXYCODONE/15MG         20                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 149       RD        DANIELS, ROBERT     12/21/2015   OXYMORPHONE/40MG        90                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 150       RD        DANIELS, ROBERT     1/19/2016     OXYCODONE/15MG         20                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 151       RD        DANIELS, ROBERT     1/19/2016    OXYMORPHONE/40MG        90                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 152       RD        DANIELS, ROBERT     2/3/2016      OXYCODONE/15MG         10                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    KENTUCKIANA
 153       RD        DANIELS, ROBERT     2/3/2016     OXYMORPHONE/40MG        90                           JEFFERSONVILLE      IN
                                                                                    PHARMACY
                                                                                    OLDE VIRGINIA
 154       RD        DANIELS, ROBERT     3/22/2016     OXYCODONE/30MG         150                            TAZEWELL          VA
                                                                                    PHARMACY

 155       RD        DANIELS, ROBERT     4/21/2016      OPANA ER/40MG         60    BUFFALO DRUG              BUFFALO         WV

 156       RD        DANIELS, ROBERT     4/21/2016     OXYCODONE/20MG         60    BUFFALO DRUG              BUFFALO         WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                       PHARMACY          PHARMACY     PHARMACY
COUNT WAS WRITTEN        NAME              DATE       DRUG PRESCRIBED        QTY           NAME              CITY         STATE
                                                                                    OLDE VIRGINIA
 157       RD        DANIELS, ROBERT     5/18/2016    OXYCODONE/20MG          60                           TAZEWELL        VA
                                                                                    PHARMACY

 158       RD        DANIELS, ROBERT     5/18/2016   OXYMORPHONE/40MG         60    BUFFALO DRUG            BUFFALO       WV

 159       RD        DANIELS, ROBERT     6/27/2016    OXYCODONE/20MG          55    BUFFALO DRUG            BUFFALO       WV

 160       RD        DANIELS, ROBERT     6/27/2016   OXYMORPHONE/40MG         60    BUFFALO DRUG            BUFFALO       WV

                                                                                    MIKE'S BEST PRACTICE
 161       RD        DANIELS, ROBERT     8/4/2016     OXYCODONE/20MG          50                           WYTHEVILLE      VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 162       RD        DANIELS, ROBERT     8/4/2016    OXYMORPHONE/30MG         60                           WYTHEVILLE      VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 163       RD        DANIELS, ROBERT     9/5/2016     OXYCODONE/20MG          45                           WYTHEVILLE      VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 164       RD        DANIELS, ROBERT     9/5/2016    OXYMORPHONE/30MG         60                           WYTHEVILLE      VA
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 165       DD        DOTSON, DONNA       4/5/2016      OPANA ER/20MG          60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 166       DD        DOTSON, DONNA       4/5/2016     OXYCODONE/20MG          75                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 167       DD        DOTSON, DONNA       5/4/2016      OPANA ER/30MG          60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 168       DD        DOTSON, DONNA       5/4/2016     OXYCODONE/20MG          60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 169       DD        DOTSON, DONNA       6/1/2016     OXYCODONE/20MG          60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 170       DD        DOTSON, DONNA       6/1/2016    OXYMORPHONE/30MG         60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 171       DD        DOTSON, DONNA       6/29/2016    OXYCODONE/20MG          75                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 172       DD        DOTSON, DONNA       6/29/2016   OXYMORPHONE/30MG         60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 173       DD        DOTSON, DONNA       7/28/2016    OXYCODONE/20MG          75                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 174       DD        DOTSON, DONNA       7/28/2016   OXYMORPHONE/40MG         60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 175       DD        DOTSON, DONNA       8/25/2016    OXYCODONE/20MG          60                              POCA        WV
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 176       DD        DOTSON, DONNA       8/25/2016   OXYMORPHONE/40MG         60                              POCA        WV
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 177       DD        DOTSON, DONNA       9/26/2016    OXYCODONE/30MG          30                           WYTHEVILLE      VA
                                                                                    PHARMACY
                                                                                    POCA VALU-RITE
 178       DD        DOTSON, DONNA       9/26/2016   OXYMORPHONE/40MG         60                              POCA        WV
                                                                                    PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                        PHARMACY          PHARMACY      PHARMACY
COUNT WAS WRITTEN         NAME             DATE        DRUG PRESCRIBED       QTY            NAME              CITY          STATE
                                                                                    MIKE'S BEST PRACTICE
 179       DD        DOTSON, DONNA       10/26/2016    OXYCODONE/30MG         60                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 180       DD        DOTSON, DONNA       10/26/2016   OXYMORPHONE/40MG        60                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 181       DD        DOTSON, DONNA       11/21/2016    OXYCODONE/30MG         30                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 182       DD        DOTSON, DONNA       11/21/2016   OXYMORPHONE/40MG        60                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 183       DD        DOTSON, DONNA       12/19/2016    OXYCODONE/30MG         30                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 184       DD        DOTSON, DONNA       12/19/2016   OXYMORPHONE/40MG        60                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 185       DD        DOTSON, DONNA       1/16/2017     OXYCODONE/30MG         30                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 186       DD        DOTSON, DONNA       1/16/2017    OXYMORPHONE/40MG        60                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 187       DD        DOTSON, DONNA       2/13/2017     OXYCODONE/30MG         30                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 188       DD        DOTSON, DONNA       2/13/2017    OXYMORPHONE/40MG        60                           WYTHEVILLE        VA
                                                                                    PHARMACY

 189       DD        DOTSON, DONNA       4/11/2017     OXYCODONE/30MG         30    RITE AID #2259           MCCARR          KY

                                                                                    MARROWBONE FAMILY
 190       DD        DOTSON, DONNA       5/9/2017      OXYCODONE/30MG         30                           ELKHORN CITY      KY
                                                                                    PHARMACY, LLC
                                                                                    MARROWBONE FAMILY
 191       DD        DOTSON, DONNA       5/9/2017     OXYMORPHONE/40MG        60                           ELKHORN CITY      KY
                                                                                    PHARMACY, LLC
                                                                                    MARROWBONE FAMILY
 192       DD        DOTSON, DONNA       6/12/2017     OXYCODONE/20MG         30                           ELKHORN CITY      KY
                                                                                    PHARMACY, LLC
                                                                                    MARROWBONE FAMILY
 193       DD        DOTSON, DONNA       6/12/2017    OXYMORPHONE/40MG        60                           ELKHORN CITY      KY
                                                                                    PHARMACY, LLC
                                                                                    OLDE VIRGINIA
 194       SF        FEARIN, STEPHEN     8/31/2015    OXYCODONE / 30MG        120                           TAZEWELL         VA
                                                                                    PHARMACY
                                                                                    OLDE VIRGINIA
 195       SF        FEARIN, STEPHEN     10/5/2015    OXYCODONE / 20MG        60                            TAZEWELL         VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 196       BF        FISHER, BRENDA      11/17/2016    OXYCODONE/30MG         90                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 197       BF        FISHER, BRENDA      11/17/2016   OXYMORPHONE/5MG         30                           WYTHEVILLE        VA
                                                                                    PHARMACY
                                                                                    MIKE'S BEST PRACTICE
 198       BF        FISHER, BRENDA      12/15/2016    OXYCODONE/30MG         75                           WYTHEVILLE        VA
                                                                                    PHARMACY

 199       BF        FISHER, BRENDA      12/15/2016   OXYMORPHONE/10MG        60    RAVENSWOOD DRUG        RAVENSWOOD       WV

 200       BF        FISHER, BRENDA      1/12/2017     OXYCODONE/30MG         75    RAVENSWOOD DRUG        RAVENSWOOD       WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                                     PHARMACY       PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME             DATE              DRUG PRESCRIBED                QTY          NAME           CITY           STATE

 201       BF        FISHER, BRENDA     1/12/2017          OXYMORPHONE/10MG                60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 202       BF        FISHER, BRENDA     2/7/2017            OXYCODONE/30MG                 75    RAVENSWOOD DRUG    RAVENSWOOD        WV

 203       BF        FISHER, BRENDA     2/7/2017             OXYCONTIN/10MG                60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 204       BF        FISHER, BRENDA     3/9/2017            OXYCODONE/30MG                 75    RAVENSWOOD DRUG    RAVENSWOOD        WV

 205       BF        FISHER, BRENDA     3/9/2017             XTAMPZA ER/9MG                60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 206       BF        FISHER, BRENDA     3/31/2017           OXYCODONE/30MG                 75    RAVENSWOOD DRUG    RAVENSWOOD        WV

                                                           XTAMPZA ER/13.5MG
 207       BF        FISHER, BRENDA     3/31/2017                                          60    RAVENSWOOD DRUG    RAVENSWOOD        WV
                                                        XTAMPZA ER / 9MG in indictment

 208       BF        FISHER, BRENDA     4/26/2017           OXYCODONE/30MG                 75    RAVENSWOOD DRUG    RAVENSWOOD        WV

 209       BF        FISHER, BRENDA     4/26/2017           XTAMPZA ER/13.5MG              60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 210       BF        FISHER, BRENDA     5/24/2017           OXYCODONE/30MG                 75    RAVENSWOOD DRUG    RAVENSWOOD        WV

 211       BF        FISHER, BRENDA     5/24/2017           XTAMPZA ER/13.5MG              60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 212       BF        FISHER, BRENDA     6/15/2017           OXYCODONE/20MG                 90    RAVENSWOOD DRUG    RAVENSWOOD        WV

 213       BF        FISHER, BRENDA     6/15/2017            XTAMPZA ER/18MG               60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 214       BF        FISHER, BRENDA     7/14/2017           OXYCODONE/20MG                 60    RAVENSWOOD DRUG    RAVENSWOOD        WV

 215       BF        FISHER, BRENDA     7/14/2017           XTAMPZA ER/27MG                60    RAVENSWOOD DRUG    RAVENSWOOD        WV

                                                                                                 OLDE VIRGINIA
 216       CG        GEORGE, CANDY      8/28/2015            MS CONTIN/30MG                60                        TAZEWELL          VA
                                                                                                 PHARMACY
                                                                                                 OLDE VIRGINIA
 217       CG        GEORGE, CANDY      8/28/2015           OXYCODONE / 30MG               120                       TAZEWELL          VA
                                                                                                 PHARMACY
                                                                                                 OLDE VIRGINIA
 218       CG        GEORGE, CANDY      9/29/2015       MORPHINE SULFATE / 30MG            90                        TAZEWELL          VA
                                                                                                 PHARMACY
                                                                                                 OLDE VIRGINIA
 219       CG        GEORGE, CANDY      9/29/2015           OXYCODONE / 30MG               60                        TAZEWELL          VA
                                                                                                 PHARMACY
                                                                                                 KENTUCKIANA
 220       CG        GEORGE, CANDY      11/20/2015          OXYCODONE / 15MG               75                      JEFFERSONVILLE      IN
                                                                                                 PHARMACY
                                                                                                 KENTUCKIANA
 221       CG        GEORGE, CANDY      11/20/2015        OXYMORPHONE / 20MG               60                      JEFFERSONVILLE      IN
                                                                                                 PHARMACY
                                                           MS CONTIN / 15MG                      OLDE VIRGINIA
 222       BHa       HARLOW, BRYAN      9/3/2015                                           60                        TAZEWELL          VA
                                                     MORPHINE SULFATE/15MG in indictment         PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                   APPROXIMATE                                        PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME            DATE         DRUG PRESCRIBED        QTY          NAME          CITY           STATE
                                                                                   OLDE VIRGINIA
 223       BHa       HARLOW, BRYAN     9/3/2015       OXYCODONE/30MG         120                      TAZEWELL          VA
                                                                                   PHARMACY

 224       BHa       HARLOW, BRYAN     10/1/2015      OXYCODONE/30MG          60   BUFFALO DRUG          BUFFALO       WV

 225       BHa       HARLOW, BRYAN     10/1/2015     OXYMORPHONE/40MG         60   BUFFALO DRUG          BUFFALO       WV

                                                                                   KENTUCKIANA
 226       BHa       HARLOW, BRYAN     10/29/2015     OXYCODONE/30MG          60                    JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 227       BHa       HARLOW, BRYAN     10/29/2015    OXYMORPHONE/40MG         90                    JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 228       BHa       HARLOW, BRYAN     11/30/2015     OXYCODONE/30MG          30                    JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 229       BHa       HARLOW, BRYAN     11/30/2015    OXYMORPHONE/40MG         90                    JEFFERSONVILLE      IN
                                                                                   PHARMACY

 230       BHa       HARLOW, BRYAN     1/4/2016        OPANA ER/40MG          90   BUFFALO DRUG          BUFFALO       WV

                                                                                   KENTUCKIANA
 231       BHa       HARLOW, BRYAN     1/4/2016       OXYCODONE/30MG          20                    JEFFERSONVILLE      IN
                                                                                   PHARMACY

 232       BHa       HARLOW, BRYAN     1/29/2016      OXYCODONE/30MG          15   BUFFALO DRUG          BUFFALO       WV

 233       BHa       HARLOW, BRYAN     1/29/2016     OXYMORPHONE/40MG         90   BUFFALO DRUG          BUFFALO       WV

 234       BHa       HARLOW, BRYAN     2/26/2016       OPANA ER/40MG          90   BUFFALO DRUG          BUFFALO       WV

 235       BHa       HARLOW, BRYAN     2/26/2016      OXYCODONE/30MG          15   BUFFALO DRUG          BUFFALO       WV

                                                                                   OLDE VIRGINIA
 236       BHa       HARLOW, BRYAN     3/24/2016      OXYCODONE/30MG         150                      TAZEWELL          VA
                                                                                   PHARMACY

 237       BHa       HARLOW, BRYAN     4/25/2016       OPANA ER/40MG          60   BUFFALO DRUG          BUFFALO       WV

                                                                                   OLDE VIRGINIA
 238       BHa       HARLOW, BRYAN     4/25/2016      OXYCODONE/30MG          90                      TAZEWELL          VA
                                                                                   PHARMACY
                                                                                   OLDE VIRGINIA
 239       BHa       HARLOW, BRYAN     5/23/2016      OXYCODONE/20MG          90                      TAZEWELL          VA
                                                                                   PHARMACY

 240       BHa       HARLOW, BRYAN     5/23/2016     OXYMORPHONE/40MG         60   BUFFALO DRUG          BUFFALO       WV

                                                                                   POCA VALU-RITE
 241       BHa       HARLOW, BRYAN     6/21/2016      OXYCODONE/30MG          60                          POCA         WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 242       BHa       HARLOW, BRYAN     6/21/2016     OXYMORPHONE/40MG         60                          POCA         WV
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 243       BHa       HARLOW, BRYAN     7/18/2016      OXYCODONE/30MG          55                    JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 244       BHa       HARLOW, BRYAN     7/18/2016     OXYMORPHONE/40MG         60                    JEFFERSONVILLE      IN
                                                                                   PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                       APPROXIMATE                                                 PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME              DATE             DRUG PRESCRIBED             QTY          NAME         CITY           STATE

 245       JH        HARLOW, JOHN GREG     10/1/2015          OXYCODONE/20MG              60    BUFFALO DRUG       BUFFALO         WV

 246       JH        HARLOW, JOHN GREG     10/1/2015        OXYMORPHONE/20MG              60    BUFFALO DRUG       BUFFALO         WV

                                                                                                KENTUCKIANA
 247       JH        HARLOW, JOHN GREG     10/29/2015         OXYCODONE/20MG              60                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 248       JH        HARLOW, JOHN GREG     10/29/2015       OXYMORPHONE/40MG              90                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 249       JH        HARLOW, JOHN GREG     11/30/2015         OXYCODONE/30MG              30                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 250       JH        HARLOW, JOHN GREG     11/30/2015       OXYMORPHONE/40MG              90                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 251       JH        HARLOW, JOHN GREG      1/4/2016           OPANA ER/40MG              90                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 252       JH        HARLOW, JOHN GREG      1/4/2016          OXYCODONE/30MG              20                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                           2/26/2016
                                                                                                KENTUCKIANA
 253       JH        HARLOW, JOHN GREG    1/26/2016 in        OXYCODONE/30MG              15                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                           indictment
 254       JH        HARLOW, JOHN GREG     1/29/2016          OXYCODONE/30MG              15    BUFFALO DRUG       BUFFALO         WV

 255       JH        HARLOW, JOHN GREG     1/29/2016        OXYMORPHONE/40MG              90    BUFFALO DRUG       BUFFALO         WV

                                                              OPANA ER / 40MG                   KENTUCKIANA
 256       JH        HARLOW, JOHN GREG     2/26/2016                                      90                    JEFFERSONVILLE      IN
                                                         OXYMORPHONE/40MG in indictment         PHARMACY
                                                                                                OLDE VIRGINIA
 257       JH        HARLOW, JOHN GREG     3/24/2016          OXYCODONE/30MG              120                     TAZEWELL          VA
                                                                                                PHARMACY

 258       JH        HARLOW, JOHN GREG     4/25/2016           OPANA ER/40MG              60    BUFFALO DRUG       BUFFALO         WV

                                                                                                OLDE VIRGINIA
 259       JH        HARLOW, JOHN GREG     4/25/2016          OXYCODONE/30MG              60                      TAZEWELL          VA
                                                                                                PHARMACY
                                                                                                OLDE VIRGINIA
 260       JH        HARLOW, JOHN GREG     5/24/2016          OXYCODONE/20MG              90                      TAZEWELL          VA
                                                                                                PHARMACY

 261       JH        HARLOW, JOHN GREG     5/24/2016        OXYMORPHONE/40MG              60    BUFFALO DRUG       BUFFALO         WV

 262       JH        HARLOW, JOHN GREG     6/21/2016          OXYCODONE/30MG              50    BUFFALO DRUG       BUFFALO         WV

 263       JH        HARLOW, JOHN GREG     6/21/2016        OXYMORPHONE/40MG              60    BUFFALO DRUG       BUFFALO         WV

                                                                                                KENTUCKIANA
 264       JH        HARLOW, JOHN GREG     7/18/2016          OXYCODONE/30MG              45                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                KENTUCKIANA
 265       JH        HARLOW, JOHN GREG     7/18/2016        OXYMORPHONE/40MG              60                    JEFFERSONVILLE      IN
                                                                                                PHARMACY
                                                                                                OLDE VIRGINIA
 266       PH         HARLOW, PAMELA       9/15/2015      MORPHINE SULFATE/15MG           90                      TAZEWELL          VA
                                                                                                PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                                  PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME               DATE        DRUG PRESCRIBED           QTY                  NAME                CITY           STATE
                                                                                                  OLDE VIRGINIA
 267       PH          HARLOW, PAMELA       9/15/2015     OXYCODONE/20MG             90                                    TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  OLDE VIRGINIA
 268       PH          HARLOW, PAMELA       10/20/2015    OXYCODONE/20MG             60                                    TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 269       PH          HARLOW, PAMELA       10/20/2015   OXYMORPHONE/30MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 270       PH          HARLOW, PAMELA       11/23/2015    OXYCODONE/20MG             30                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 271       PH          HARLOW, PAMELA       11/23/2015   OXYMORPHONE/40MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 272       PH          HARLOW, PAMELA       12/23/2015    OXYCODONE/20MG             30                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 273       PH          HARLOW, PAMELA       12/23/2015   OXYMORPHONE/40MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                      30          KENTUCKIANA
 274       PH          HARLOW, PAMELA       1/20/2016     OXYCODONE/20MG                                                 JEFFERSONVILLE      IN
                                                                               20 in indictment   PHARMACY
                                                                                                  KENTUCKIANA
 275       PH          HARLOW, PAMELA       1/20/2016    OXYMORPHONE/40MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 276       PH          HARLOW, PAMELA       2/3/2016      OXYCODONE/20MG             15                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 277       PH          HARLOW, PAMELA       2/3/2016     OXYMORPHONE/40MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  OLDE VIRGINIA
 278       PH          HARLOW, PAMELA       3/22/2016     OXYCODONE/30MG             120                                   TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  OLDE VIRGINIA
 279       PH          HARLOW, PAMELA       4/21/2016     OXYCODONE/20MG             60                                    TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  OLDE VIRGINIA
 280       PH          HARLOW, PAMELA       4/25/2016     OXYCODONE/30MG             60                                    TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  OLDE VIRGINIA
 281       PH          HARLOW, PAMELA       5/18/2016     OXYCODONE/30MG             150                                   TAZEWELL          VA
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 282       PH          HARLOW, PAMELA       6/14/2016     OXYCODONE/20MG             60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  KENTUCKIANA
 283       PH          HARLOW, PAMELA       6/14/2016    OXYMORPHONE/40MG            60                                  JEFFERSONVILLE      IN
                                                                                                  PHARMACY
                                                                                                  MIKE'S BEST PRACTICE
 284       PH          HARLOW, PAMELA       7/13/2016     OXYCODONE/20MG             50                                    WYTHEVILLE        VA
                                                                                                  PHARMACY
                                                                                                  MIKE'S BEST PRACTICE
 285       PH          HARLOW, PAMELA       7/13/2016    OXYMORPHONE/40MG            60                                    WYTHEVILLE        VA
                                                                                                  PHARMACY
                                                                                                  MIKE'S BEST PRACTICE
 286       PH          HARLOW, PAMELA       8/15/2016     OXYCODONE/20MG             75                                    WYTHEVILLE        VA
                                                                                                  PHARMACY
                                                                                                  MIKE'S BEST PRACTICE
 287       PH          HARLOW, PAMELA       8/15/2016    OXYMORPHONE/30MG            60                                    WYTHEVILLE        VA
                                                                                                  PHARMACY

 288       HH        HARTSHORN, HEATHER     9/15/2016    OXYCODONE / 30MG            120          HAYES DRUG LLC         NORTH TAZEWELL      VA




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                             APPROXIMATE                                         PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN             NAME                 DATE          DRUG PRESCRIBED        QTY          NAME          CITY           STATE

 289       HH         HARTSHORN, HEATHER         9/15/2016     OXYMORPHONE / 10MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 290       HH         HARTSHORN, HEATHER         10/18/2016      OXYCODONE / 30MG       90    HAYES DRUG LLC   NORTH TAZEWELL      VA

 291       HH         HARTSHORN, HEATHER         10/18/2016    OXYMORPHONE / 20MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 292       HH         HARTSHORN, HEATHER         11/22/2016      OXYCODONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 293       HH         HARTSHORN, HEATHER         11/22/2016    OXYMORPHONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 294       HH         HARTSHORN, HEATHER         12/20/2016      OXYCODONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 295       HH         HARTSHORN, HEATHER         12/20/2016    OXYMORPHONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 296       HH         HARTSHORN, HEATHER         1/17/2017       OXYCODONE / 30MG       45    HAYES DRUG LLC   NORTH TAZEWELL      VA

 297       HH         HARTSHORN, HEATHER         1/17/2017     OXYMORPHONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

 298       HH         HARTSHORN, HEATHER         2/20/2017       OXYCODONE / 30MG       55    HAYES DRUG LLC   NORTH TAZEWELL      VA

 299       HH         HARTSHORN, HEATHER         2/20/2017     OXYMORPHONE / 30MG       60    HAYES DRUG LLC   NORTH TAZEWELL      VA

                                                                                              OLDE VIRGINIA
 300      BHo            HOPKINS, BOBBY          9/15/2015    MORPHINE SULFATE / 15MG   90                       TAZEWELL          VA
                                                                                              PHARMACY
                                                                                              OLDE VIRGINIA
 301      BHo            HOPKINS, BOBBY          9/15/2015       OXYCODONE / 20MG       90                       TAZEWELL          VA
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 302      BHo            HOPKINS, BOBBY          10/29/2015      OXYCODONE / 20MG       90                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 303      BHo            HOPKINS, BOBBY          10/29/2015      OXYCODONE / 30MG       15                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 304      BHo            HOPKINS, BOBBY          10/29/2015    OXYMORPHONE / 20MG       60                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              SAMS PHARMACY
 305       DH            HOPKINS, DONALD         9/15/2015    MORPHINE SULFATE / 15MG   90                     JEFFERSONTOWN       KY
                                                                                              JEFFERSONTOWN
                                                                                              SAMS PHARMACY
 306       DH            HOPKINS, DONALD         9/15/2015       OXYCODONE / 15MG       90                     JEFFERSONTOWN       KY
                                                                                              JEFFERSONTOWN
                                                                                              KENTUCKIANA
 307       SH        HUBBARD, SAMUEL "SAMMY"     11/23/2015        DILAUDID/8MG         60                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 308       SH        HUBBARD, SAMUEL "SAMMY"     11/23/2015     OXYMORPHONE/20MG        60                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 309       SH        HUBBARD, SAMUEL "SAMMY"     12/23/2015        DILAUDID/8MG         45                     JEFFERSONVILLE      IN
                                                                                              PHARMACY
                                                                                              KENTUCKIANA
 310       SH        HUBBARD, SAMUEL "SAMMY"     12/23/2015     OXYMORPHONE/40MG        60                     JEFFERSONVILLE      IN
                                                                                              PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                             APPROXIMATE                                     PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN             NAME                 DATE       DRUG PRESCRIBED       QTY          NAME                CITY           STATE
                                                                                          KENTUCKIANA
 311       SH        HUBBARD, SAMUEL "SAMMY"     1/20/2016     DILAUDID/8MG         45                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 312       SH        HUBBARD, SAMUEL "SAMMY"     1/20/2016   OXYMORPHONE/40MG       60                           JEFFERSONVILLE      IN
                                                                                          PHARMACY

 313       SH        HUBBARD, SAMUEL "SAMMY"     2/3/2016      DILAUDID/8MG         30    BUFFALO DRUG              BUFFALO         WV

 314       SH        HUBBARD, SAMUEL "SAMMY"     2/3/2016    OXYMORPHONE/40MG       60    BUFFALO DRUG              BUFFALO         WV

                                                                                          OLDE VIRGINIA
 315       SH        HUBBARD, SAMUEL "SAMMY"     3/22/2016    OXYCODONE/30MG        150                            TAZEWELL          VA
                                                                                          PHARMACY

 316       SH        HUBBARD, SAMUEL "SAMMY"     4/21/2016     OPANA ER/40MG        60    BUFFALO DRUG              BUFFALO         WV

 317       SH        HUBBARD, SAMUEL "SAMMY"     4/21/2016    OXYCODONE/30MG        60    BUFFALO DRUG              BUFFALO         WV

 318       SH        HUBBARD, SAMUEL "SAMMY"     5/18/2016    OXYCODONE/30MG        60    BUFFALO DRUG              BUFFALO         WV

 319       SH        HUBBARD, SAMUEL "SAMMY"     5/18/2016   OXYMORPHONE/40MG       60    BUFFALO DRUG              BUFFALO         WV

                                                                                          POCA VALU-RITE
 320       SH        HUBBARD, SAMUEL "SAMMY"     6/21/2016    OXYCODONE/30MG        60                               POCA           WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 321       SH        HUBBARD, SAMUEL "SAMMY"     6/21/2016   OXYMORPHONE/40MG       60                               POCA           WV
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 322       SH        HUBBARD, SAMUEL "SAMMY"     7/18/2016    OXYCODONE/30MG        55                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 323       SH        HUBBARD, SAMUEL "SAMMY"     7/18/2016   OXYMORPHONE/40MG       60                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 324       SH        HUBBARD, SAMUEL "SAMMY"     8/31/2016    OXYCODONE/30MG        90                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 325       SH        HUBBARD, SAMUEL "SAMMY"     8/31/2016   OXYMORPHONE/20MG       60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 326       SH        HUBBARD, SAMUEL "SAMMY"     9/29/2016    OXYCODONE/20MG         7                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 327       SH        HUBBARD, SAMUEL "SAMMY"     9/29/2016    OXYCODONE/20MG        14                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 328       SH        HUBBARD, SAMUEL "SAMMY"     9/29/2016    OXYCODONE/20MG        21                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 329       SH        HUBBARD, SAMUEL "SAMMY"     9/29/2016    OXYCODONE/20MG        28                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 330      BHu            HURLEY, BLAKEY          9/7/2016     MS CONTIN / 15MG      60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 331      BHu            HURLEY, BLAKEY          9/7/2016     OXYCODONE / 5MG       90                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 332      BHu            HURLEY, BLAKEY          10/4/2016      OPANA / 5MG         60                            WYTHEVILLE         VA
                                                                                          PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                               PHARMACY           PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME             DATE          DRUG PRESCRIBED             QTY           NAME               CITY           STATE
                                                                                          MIKE'S BEST PRACTICE
 333      BHu        HURLEY, BLAKEY     10/4/2016      OXYCODONE / 15MG             90                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 334      BHu        HURLEY, BLAKEY     11/3/2016      OXYCODONE / 20MG             90                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 335      BHu        HURLEY, BLAKEY     11/3/2016    OXYMORPHONE / 10MG             60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 336      BHu        HURLEY, BLAKEY     12/5/2016      OXYCODONE / 20MG             90                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 337      BHu        HURLEY, BLAKEY     12/5/2016    OXYMORPHONE / 10MG             60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 338      BHu        HURLEY, BLAKEY     1/3/2017       OXYCODONE / 20MG             75                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 339      BHu        HURLEY, BLAKEY     1/3/2017     OXYMORPHONE / 15MG             60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 340      BHu        HURLEY, BLAKEY     2/7/2017       OXYCODONE / 20MG             75                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 341      BHu        HURLEY, BLAKEY     2/7/2017     OXYMORPHONE / 20MG             60                            WYTHEVILLE         VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 342       DJ        JESSIE, DEANNA     9/24/2015   MORPHINE SULFATE / 15MG         90                             TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 343       DJ        JESSIE, DEANNA     9/24/2015      OXYCODONE / 15MG             90                             TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 344       DJ        JESSIE, DEANNA     11/5/2015   MORPHINE SULFATE / 30MG         60                             TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 345       DJ        JESSIE, DEANNA     11/5/2015      OXYCODONE / 15MG             60                             TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 346       DJ        JESSIE, DEANNA     12/1/2015   MORPHINE SULFATE / 30MG         90                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 347       DJ        JESSIE, DEANNA     12/1/2015      OXYCODONE / 15MG             30                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 348       DJ        JESSIE, DEANNA     1/12/2016   MORPHINE SULFATE / 30MG         60                           JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                      OXYCODONE / 15MG                    KENTUCKIANA
 349       DJ        JESSIE, DEANNA     1/12/2016                                   30                           JEFFERSONVILLE      IN
                                                    OXYCOONE / 15MG in indictment         PHARMACY
                                                                                          KENTUCKIANA
 350       DJ        JESSIE, DEANNA     2/5/2016        OXYCODONE/15MG              30                           JEFFERSONVILLE      IN
                                                                                          PHARMACY

 351       DJ        JESSIE, DEANNA     3/14/2016       MS CONTIN/30MG              60    RITE AID #3566         LAWRENCEBURG        KY

 352       DJ        JESSIE, DEANNA     3/14/2016      OXYCODONE / 15MG             30    RITE AID #3566         LAWRENCEBURG        KY

 353       DJ        JESSIE, DEANNA     4/28/2016       MS CONTIN/30MG              60    RITE AID #3566         LAWRENCEBURG        KY

 354       DJ        JESSIE, DEANNA     4/28/2016      OXYCODONE / 10MG             45    RITE AID #3566         LAWRENCEBURG        KY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                       PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME              DATE       DRUG PRESCRIBED        QTY           NAME         CITY           STATE

 355       DJ        JESSIE, DEANNA      5/26/2016    MS CONTIN/30MG          60   RITE AID #3566   LAWRENCEBURG        KY

 356       DJ        JESSIE, DEANNA      5/26/2016    OXYCODONE / 10MG       45    RITE AID #3566   LAWRENCEBURG        KY

 357       DJ        JESSIE, DEANNA      6/23/2016    MS CONTIN/30MG          60   RITE AID #3566   LAWRENCEBURG        KY

 358       DJ        JESSIE, DEANNA      6/23/2016    OXYCODONE / 10MG       30    RITE AID #3566   LAWRENCEBURG        KY

 359       DJ        JESSIE, DEANNA      7/26/2016     MS CONTIN/15MG         60   RITE AID #3566   LAWRENCEBURG        KY

 360       DJ        JESSIE, DEANNA      7/26/2016    OXYCODONE / 10MG       30    RITE AID #3566   LAWRENCEBURG        KY

 361       DJ        JESSIE, DEANNA      8/22/2016     MS CONTIN/15MG        60    RITE AID #3566   LAWRENCEBURG        KY

 362       DJ        JESSIE, DEANNA      8/22/2016    OXYCODONE / 10MG       30    RITE AID #3566   LAWRENCEBURG        KY

 363       DJ        JESSIE, DEANNA      9/15/2016     MS CONTIN/15MG        60    RITE AID #3566   LAWRENCEBURG        KY

 364       DJ        JESSIE, DEANNA      9/15/2016    OXYCODONE / 10MG       30    RITE AID #3566   LAWRENCEBURG        KY

 365       DJ        JESSIE, DEANNA      10/20/2016    MS CONTIN/15MG         60   RITE AID #3566   LAWRENCEBURG        KY

 366       DJ        JESSIE, DEANNA      10/20/2016   OXYCODONE / 10MG       30    RITE AID #3566   LAWRENCEBURG        KY

 367       DJ        JESSIE, DEANNA      11/18/2016   OXYCODONE / 10MG        10   RITE AID #3566   LAWRENCEBURG        KY

 368       DJ        JESSIE, DEANNA      11/28/2016    MS CONTIN/15MG        60    RITE AID #3566   LAWRENCEBURG        KY

 369       DJ        JESSIE, DEANNA      11/28/2016   OXYCODONE / 10MG        7    RITE AID #3566   LAWRENCEBURG        KY

 370       DJ        JESSIE, DEANNA      12/21/2016    MS CONTIN/15MG        60    RITE AID #3566   LAWRENCEBURG        KY

 371       DJ        JESSIE, DEANNA      12/21/2016   OXYCODONE / 10MG        7    RITE AID #3566   LAWRENCEBURG        KY

                                                                                   KENTUCKIANA
 372       DJ        JESSIE, DEANNA      1/30/2017    MS CONTIN / 15MG       60                     JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 373       DJ        JESSIE, DEANNA      1/30/2017    OXYCODONE / 10MG        7                     JEFFERSONVILLE      IN
                                                                                   PHARMACY
                                                                                   OLDE VIRGINIA
 374       ReJ       JESSIE, REBECCA     8/26/2015    MS CONTIN / 15MG       30                       TAZEWELL          VA
                                                                                   PHARMACY
                                                                                   OLDE VIRGINIA
 375       ReJ       JESSIE, REBECCA     8/26/2015    OXYCODONE / 30MG       120                      TAZEWELL          VA
                                                                                   PHARMACY
                                                                                   KENTUCKIANA
 376       ReJ       JESSIE, REBECCA     10/5/2015    OXYCODONE/15MG         90                     JEFFERSONVILLE      IN
                                                                                   PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                         PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME              DATE          DRUG PRESCRIBED       QTY           NAME         CITY           STATE
                                                                                     KENTUCKIANA
 377       ReJ       JESSIE, REBECCA     10/5/2015     OXYMORPHONE/20MG        60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 378       ReJ       JESSIE, REBECCA     11/13/2015     OXYCODONE / 30MG       60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 379       ReJ       JESSIE, REBECCA     11/13/2015    OXYMORPHONE / 30MG      60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 380       ReJ       JESSIE, REBECCA     12/15/2015      MS CONTIN / 30MG      60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 381       ReJ       JESSIE, REBECCA     12/15/2015     OXYCODONE / 30MG       60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 382       ReJ       JESSIE, REBECCA     1/12/2016    MORPHINE SULFATE/30MG    60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 383       ReJ       JESSIE, REBECCA     1/12/2016      OXYCODONE / 30MG       60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 384       ReJ       JESSIE, REBECCA     2/5/2016     MORPHINE SULFATE/30MG    60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 385       ReJ       JESSIE, REBECCA     2/5/2016        OXYCODONE/30MG        60                     JEFFERSONVILLE      IN
                                                                                     PHARMACY

 386       ReJ       JESSIE, REBECCA     3/14/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY

 387       ReJ       JESSIE, REBECCA     3/14/2016      OXYCODONE / 30MG       60    RITE AID #3566   LAWRENCEBURG        KY

 388       ReJ       JESSIE, REBECCA     4/28/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY

 389       ReJ       JESSIE, REBECCA     4/28/2016      OXYCODONE / 20MG       90    RITE AID #3566   LAWRENCEBURG        KY

 390       ReJ       JESSIE, REBECCA     5/26/2016       MS CONTIN/30MG        60    RITE AID #3566   LAWRENCEBURG        KY

 391       ReJ       JESSIE, REBECCA     5/26/2016      OXYCODONE / 20MG       90    RITE AID #3566   LAWRENCEBURG        KY

 392       ReJ       JESSIE, REBECCA     6/23/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY

 393       ReJ       JESSIE, REBECCA     6/23/2016      OXYCODONE / 20MG       90    RITE AID #3566   LAWRENCEBURG        KY

 394       ReJ       JESSIE, REBECCA     7/26/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY

 395       ReJ       JESSIE, REBECCA     7/26/2016      OXYCODONE / 30MG       60    RITE AID #3566   LAWRENCEBURG        KY

 396       ReJ       JESSIE, REBECCA     8/22/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY

 397       ReJ       JESSIE, REBECCA     8/22/2016      OXYCODONE / 30MG       60    RITE AID #3566   LAWRENCEBURG        KY

 398       ReJ       JESSIE, REBECCA     9/15/2016       MS CONTIN / 30MG      60    RITE AID #3566   LAWRENCEBURG        KY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                                 PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN        NAME              DATE           DRUG PRESCRIBED              QTY           NAME         CITY           STATE

 399       ReJ       JESSIE, REBECCA     9/15/2016       OXYCODONE / 30MG              60    RITE AID #3566   LAWRENCEBURG        KY

 400       ReJ       JESSIE, REBECCA     10/20/2016       MS CONTIN / 30MG             60    RITE AID #3566   LAWRENCEBURG        KY

 401       ReJ       JESSIE, REBECCA     10/20/2016      OXYCODONE / 30MG              60    RITE AID #3566   LAWRENCEBURG        KY

 402       ReJ       JESSIE, REBECCA     11/18/2016       MS CONTIN / 30MG             10    RITE AID #3566   LAWRENCEBURG        KY

 403       ReJ       JESSIE, REBECCA     11/18/2016      OXYCODONE / 30MG              20    RITE AID #3566   LAWRENCEBURG        KY

 404       ReJ       JESSIE, REBECCA     11/28/2016       MS CONTIN / 30MG             60    RITE AID #3566   LAWRENCEBURG        KY

 405       ReJ       JESSIE, REBECCA     11/28/2016      OXYCODONE / 30MG              60    RITE AID #3566   LAWRENCEBURG        KY

 406       ReJ       JESSIE, REBECCA     12/21/2016       MS CONTIN / 30MG             60    RITE AID #3566   LAWRENCEBURG        KY

                                                                                             KENTUCKIANA
 407       ReJ       JESSIE, REBECCA     12/21/2016      OXYCODONE / 30MG              60                     JEFFERSONVILLE      IN
                                                                                             PHARMACY

 408       ReJ       JESSIE, REBECCA     1/30/2017        MS CONTIN / 30MG             60    RITE AID #3566   LAWRENCEBURG        KY

 409       ReJ       JESSIE, REBECCA     1/30/2017       OXYCODONE / 30MG              55    RITE AID #3566   LAWRENCEBURG        KY

                                                          MS CONTIN / 60MG                   KENTUCKIANA
 410       ReJ       JESSIE, REBECCA     2/27/2017                                     60                     JEFFERSONVILLE      IN
                                                      MS CONTIN / 30MG in indictment         PHARMACY
                                                                                             KENTUCKIANA
 411       ReJ       JESSIE, REBECCA     2/27/2017       OXYCODONE / 30MG              50                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                          MS CONTIN / 60MG                   KENTUCKIANA
 412       ReJ       JESSIE, REBECCA     3/27/2017                                     60                     JEFFERSONVILLE      IN
                                                      MS CONTIN / 30MG in indictment         PHARMACY
                                                                                             KENTUCKIANA
 413       ReJ       JESSIE, REBECCA     3/27/2017       OXYCODONE / 30MG              50                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                                                             KENTUCKIANA
 414       ReJ       JESSIE, REBECCA     4/27/2017         MS CONTIN/60MG              60                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                                                             KENTUCKIANA
 415       ReJ       JESSIE, REBECCA     4/27/2017       OXYCODONE / 30MG              45                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                                                             SAMS PHARMACY
 416       RiJ        JESSIE, RICKY      9/10/2015         MS CONTIN/30MG              90                     JEFFERSONTOWN       KY
                                                                                             JEFFERSONTOWN
                                                                                             SAMS PHARMACY
 417       RiJ        JESSIE, RICKY      9/10/2015       OXYCODONE / 30MG              120                    JEFFERSONTOWN       KY
                                                                                             JEFFERSONTOWN
                                                                                             KENTUCKIANA
 418       RiJ        JESSIE, RICKY      10/14/2015       OXYCODONE/30MG               90                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                                                             KENTUCKIANA
 419       RiJ        JESSIE, RICKY      10/14/2015    OXYMORPHONE / 20MG              90                     JEFFERSONVILLE      IN
                                                                                             PHARMACY
                                                                                             KENTUCKIANA
 420       RiJ        JESSIE, RICKY      11/13/2015      OXYCODONE / 30MG              120                    JEFFERSONVILLE      IN
                                                                                             PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                   APPROXIMATE                                                 PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN       NAME             DATE           DRUG PRESCRIBED              QTY           NAME         CITY           STATE
                                                                                           KENTUCKIANA
 421       RiJ       JESSIE, RICKY     11/13/2015    OXYMORPHONE / 30MG              90                     JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                                                           KENTUCKIANA
 422       RiJ       JESSIE, RICKY     12/15/2015       MS CONTIN / 30MG             90                     JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                                                           KENTUCKIANA
 423       RiJ       JESSIE, RICKY     12/15/2015      OXYCODONE / 30MG              120                    JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                                                           KENTUCKIANA
 424       RiJ       JESSIE, RICKY     1/12/2016    MORPHINE SULFATE / 30MG          60                     JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                                                           KENTUCKIANA
 425       RiJ       JESSIE, RICKY     1/12/2016       OXYCODONE / 30MG              120                    JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                                                           KENTUCKIANA
 426       RiJ       JESSIE, RICKY     2/5/2016        OXYCODONE / 30MG              120                    JEFFERSONVILLE      IN
                                                                                           PHARMACY
                                                        MS CONTIN / 30MG
 427       RiJ       JESSIE, RICKY     3/14/2016                                     90    RITE AID #3566   LAWRENCEBURG        KY
                                                    MS CONTIN / 60MG in indictment

 428       RiJ       JESSIE, RICKY     3/14/2016       OXYCODONE / 30MG              90    RITE AID #3566   LAWRENCEBURG        KY

 429       RiJ       JESSIE, RICKY     4/22/2016        MS CONTIN / 30MG             18    RITE AID #3566   LAWRENCEBURG        KY

 430       RiJ       JESSIE, RICKY     4/22/2016       OXYCODONE / 30MG              20    RITE AID #3566   LAWRENCEBURG        KY

 431       RiJ       JESSIE, RICKY     4/28/2016        MS CONTIN / 30MG             56    RITE AID #3566   LAWRENCEBURG        KY

 432       RiJ       JESSIE, RICKY     4/28/2016       OXYCODONE / 30MG              120   RITE AID #3566   LAWRENCEBURG        KY

 433       RiJ       JESSIE, RICKY     5/26/2016        MS CONTIN / 30MG             90    RITE AID #3566   LAWRENCEBURG        KY

 434       RiJ       JESSIE, RICKY     5/26/2016       OXYCODONE / 20MG              120   RITE AID #3566   LAWRENCEBURG        KY

 435       RiJ       JESSIE, RICKY     6/23/2016        MS CONTIN / 30MG             90    RITE AID #3566   LAWRENCEBURG        KY

 436       RiJ       JESSIE, RICKY     6/23/2016       OXYCODONE / 20MG              120   RITE AID #3566   LAWRENCEBURG        KY

 437       RiJ       JESSIE, RICKY     7/26/2016        MS CONTIN / 60MG             60    RITE AID #3566   LAWRENCEBURG        KY

 438       RiJ       JESSIE, RICKY     7/26/2016       OXYCODONE / 30MG              90    RITE AID #3566   LAWRENCEBURG        KY

 439       RiJ       JESSIE, RICKY     8/22/2016        MS CONTIN / 60MG             60    RITE AID #3566   LAWRENCEBURG        KY

 440       RiJ       JESSIE, RICKY     8/22/2016       OXYCODONE / 30MG              90    RITE AID #3566   LAWRENCEBURG        KY

 441       RiJ       JESSIE, RICKY     9/15/2016        MS CONTIN / 60MG             60    RITE AID #3566   LAWRENCEBURG        KY

 442       RiJ       JESSIE, RICKY     9/15/2016       OXYCODONE / 30MG              120   RITE AID #3566   LAWRENCEBURG        KY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                       APPROXIMATE                                                        PHARMACY     PHARMACY       PHARMACY
COUNT WAS WRITTEN         NAME               DATE               DRUG PRESCRIBED                 QTY           NAME         CITY           STATE

 443       RiJ         JESSIE, RICKY       10/20/2016           MS CONTIN / 60MG                60    RITE AID #3566   LAWRENCEBURG        KY

 444       RiJ         JESSIE, RICKY       10/20/2016           OXYCODONE / 30MG                120   RITE AID #3566   LAWRENCEBURG        KY

 445       RiJ         JESSIE, RICKY       11/18/2016           MS CONTIN / 60MG                20    RITE AID #3566   LAWRENCEBURG        KY

 446       RiJ         JESSIE, RICKY       11/18/2016           OXYCODONE / 30MG                40    RITE AID #3566   LAWRENCEBURG        KY

 447       RiJ         JESSIE, RICKY       11/28/2016           MS CONTIN / 60MG                90    RITE AID #3566   LAWRENCEBURG        KY

 448       RiJ         JESSIE, RICKY       11/28/2016           OXYCODONE / 30MG                90    RITE AID #3566   LAWRENCEBURG        KY

 449       RiJ         JESSIE, RICKY       12/21/2016           MS CONTIN / 60MG                90    RITE AID #3566   LAWRENCEBURG        KY

 450       RiJ         JESSIE, RICKY       12/21/2016           OXYCODONE / 30MG                90    RITE AID #3566   LAWRENCEBURG        KY

 451       RiJ         JESSIE, RICKY       1/30/2017            MS CONTIN / 60MG                60    RITE AID #3566   LAWRENCEBURG        KY

 452       RiJ         JESSIE, RICKY       1/30/2017            OXYCODONE / 30MG                85    RITE AID #3566   LAWRENCEBURG        KY

                                                                                                      KENTUCKIANA
 453       RiJ         JESSIE, RICKY       2/27/2017            MS CONTIN / 60MG                90                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      KENTUCKIANA
 454       RiJ         JESSIE, RICKY       2/27/2017            OXYCODONE / 30MG                80                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                               MS CONTIN / 60MG                       KENTUCKIANA
 455       RiJ         JESSIE, RICKY       3/27/2017                                            90                     JEFFERSONVILLE      IN
                                                        MORPHINE SULFATE / 60MG in indictment         PHARMACY
                                                                                                      KENTUCKIANA
 456       RiJ         JESSIE, RICKY       3/27/2017            OXYCODONE / 30MG                80                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                               MS CONTIN / 60MG                       KENTUCKIANA
 457       RiJ         JESSIE, RICKY       4/27/2017                                            90                     JEFFERSONVILLE      IN
                                                        MORPHINE SULFATE / 60MG in indictment         PHARMACY
                                                                                                      KENTUCKIANA
 458       RiJ         JESSIE, RICKY       4/27/2017            OXYCODONE / 30MG                75                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      KENTUCKIANA
 459       NJ          JEWELL, NEIL        10/29/2015           OXYCODONE/15MG                  60                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      KENTUCKIANA
 460       NJ          JEWELL, NEIL        10/29/2015         OXYMORPHONE/40MG                  90                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      KENTUCKIANA
 461       NJ          JEWELL, NEIL        11/23/2015           OXYCODONE/20MG                  30                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      KENTUCKIANA
 462       NJ          JEWELL, NEIL        11/23/2015         OXYMORPHONE/20MG                  60                     JEFFERSONVILLE      IN
                                                                                                      PHARMACY
                                                                                                      OLDE VIRGINIA
 463       LK        KICKLIGHTER, LORA     9/10/2015            OXYCODONE/30MG                  120                      TAZEWELL          VA
                                                                                                      PHARMACY

 464       LK        KICKLIGHTER, LORA     9/10/2015          OXYMORPHONE/40MG                  60    BUFFALO DRUG        BUFFALO         WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                     PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME               DATE        DRUG PRESCRIBED      QTY          NAME                CITY           STATE
                                                                                     KENTUCKIANA
 465       LK        KICKLIGHTER, LORA      11/5/2015    OXYMORPHONE/40MG       90                          JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 466       LK        KICKLIGHTER, LORA      12/2/2015    OXYMORPHONE/40MG       90                          JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 467       LK        KICKLIGHTER, LORA      1/4/2016       OPANA ER/40MG        90                          JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 468       LK        KICKLIGHTER, LORA      1/29/2016    OXYMORPHONE/40MG       90                          JEFFERSONVILLE      IN
                                                                                     PHARMACY
                                                                                     KENTUCKIANA
 469       LK        KICKLIGHTER, LORA      2/26/2016      OPANA ER/40MG        90                          JEFFERSONVILLE      IN
                                                                                     PHARMACY

 470       LK        KICKLIGHTER, LORA      3/31/2016      OPANA ER/40MG        90   BUFFALO DRUG              BUFFALO         WV

                                                                                     POCA VALU-RITE
 471       LK        KICKLIGHTER, LORA      4/4/2016      OXYCODONE/30MG        60                              POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 472       LK        KICKLIGHTER, LORA      5/2/2016       OPANA ER/40MG        90                              POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 473       LK        KICKLIGHTER, LORA      6/6/2016     OXYMORPHONE/40MG       90                              POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 474       LK        KICKLIGHTER, LORA      7/5/2016      OXYCODONE/20MG        7                               POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 475       LK        KICKLIGHTER, LORA      7/5/2016      OXYCODONE/20MG        14                              POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 476       LK        KICKLIGHTER, LORA      7/5/2016      OXYCODONE/20MG        24                              POCA           WV
                                                                                     PHARMACY
                                                                                     MIKE'S BEST PRACTICE
 477       .LK       KICKLIGHTER, LORA      7/5/2016      OXYCODONE/20MG        32                           WYTHEVILLE         VA
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 478       SK        KOVALESKI, SHANNON     7/28/2016      DILAUDID/4MG        90                               POCA           WV
                                                                                     PHARMACY
                                                                                     POCA VALU-RITE
 479       SK        KOVALESKI, SHANNON     7/28/2016     MS CONTIN/15MG        60                              POCA           WV
                                                                                     PHARMACY
                                            8/25/2016                                POCA VALU-RITE
 480       SK        KOVALESKI, SHANNON                  PERCOCET/10/325MG      75                              POCA           WV
                                            8/24/2016                                PHARMACY

 481       SK        KOVALESKI, SHANNON     8/25/2016     MS CONTIN/15MG        90   KROGER #N-965           WESTERVILLE       OH

 482       SK        KOVALESKI, SHANNON     9/27/2016     MS CONTIN/30MG        60   KROGER #N-965           WESTERVILLE       OH

 483       SK        KOVALESKI, SHANNON     9/27/2016     OXYCODONE/15MG        60   KROGER #N-965           WESTERVILLE       OH

                                                                                     MIKE'S BEST PRACTICE
 484       SK        KOVALESKI, SHANNON     10/26/2016    OXYCODONE/15MG        80                           WYTHEVILLE         VA
                                                                                     PHARMACY
                                                                                     MIKE'S BEST PRACTICE
 485       SK        KOVALESKI, SHANNON     10/26/2016   OXYMORPHONE/5MG        60                           WYTHEVILLE         VA
                                                                                     PHARMACY
                                                                                     MIKE'S BEST PRACTICE
 486       SK        KOVALESKI, SHANNON     11/29/2016    OXYCODONE/15MG        45                           WYTHEVILLE         VA
                                                                                     PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                          PHARMACY          PHARMACY      PHARMACY
COUNT WAS WRITTEN          NAME               DATE          DRUG PRESCRIBED        QTY           NAME              CITY          STATE
                                                                                         POCA VALU-RITE
 487       SK        KOVALESKI, SHANNON     11/29/2016     OXYMORPHONE/10MG        60                              POCA          WV
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 488       SK        KOVALESKI, SHANNON     1/3/2017        OXYCODONE/15MG         45                           WYTHEVILLE        VA
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 489       SK        KOVALESKI, SHANNON     1/3/2017       OXYMORPHONE/10MG        60                           WYTHEVILLE        VA
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 490       SK        KOVALESKI, SHANNON     2/2/2017        OXYCODONE/15MG         40                           WYTHEVILLE        VA
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 491       SK        KOVALESKI, SHANNON     2/2/2017       OXYMORPHONE/10MG        60                           WYTHEVILLE        VA
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 492       SK        KOVALESKI, SHANNON     3/2/2017        OXYCODONE/15MG         30                           WYTHEVILLE        VA
                                                                                         PHARMACY
                                                                                         MIKE'S BEST PRACTICE
 493       SK        KOVALESKI, SHANNON     3/2/2017       OXYMORPHONE/15MG        60                           WYTHEVILLE        VA
                                                                                         PHARMACY

 494       SK        KOVALESKI, SHANNON     4/11/2017       OXYCODONE/15MG         40    RITE AID #2259           MCCARR          KY

                                                                                         MARROWBONE FAMILY
 495       SK        KOVALESKI, SHANNON     5/9/2017        OXYCODONE/15MG         40                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         MARROWBONE FAMILY
 496       SK        KOVALESKI, SHANNON     5/9/2017       OXYMORPHONE/15MG        60                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         MARROWBONE FAMILY
 497       SK        KOVALESKI, SHANNON     6/6/2017        OXYCODONE/15MG         35                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         MARROWBONE FAMILY
 498       SK        KOVALESKI, SHANNON     6/6/2017       OXYMORPHONE/15MG        60                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         MARROWBONE FAMILY
 499       SK        KOVALESKI, SHANNON     7/6/2017        OXYCODONE/10MG         45                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         MARROWBONE FAMILY
 500       SK        KOVALESKI, SHANNON     7/6/2017       OXYMORPHONE/15MG        60                           ELKHORN CITY      KY
                                                                                         PHARMACY, LLC
                                                                                         OLDE VIRGINIA
 501       BL          LINDSAY, BILLIE      8/27/2015        MS CONTIN/15MG        60                            TAZEWELL         VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 502       BL          LINDSAY, BILLIE      8/27/2015       OXYCODONE / 30MG       90                            TAZEWELL         VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 503       BL          LINDSAY, BILLIE      9/25/2015    MORPHINE SULFATE / 15MG   90                            TAZEWELL         VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 504       BL          LINDSAY, BILLIE      9/25/2015       OXYCODONE / 15MG       120                           TAZEWELL         VA
                                                                                         PHARMACY
                                                                                         WAL-MART PHARMACY
 505       JL           LONG, JAMES         8/27/2015       MS CONTIN / 15MG       60                             ROANOKE         VA
                                                                                         10-1301
                                                                                         WAL-MART PHARMACY
 506       JL           LONG, JAMES         8/27/2015       OXYCODONE / 30MG       90                             ROANOKE         VA
                                                                                         10-1301
                                                                                         OLDE VIRGINIA
 507       JL           LONG, JAMES         9/25/2015    MORPHINE SULFATE / 30MG   90                            TAZEWELL         VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 508       JL           LONG, JAMES         9/25/2015       OXYCODONE / 20MG       90                            TAZEWELL         VA
                                                                                         PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                       PHARMACY          PHARMACY     PHARMACY
COUNT WAS WRITTEN        NAME             DATE        DRUG PRESCRIBED        QTY          NAME              CITY         STATE
                                                                                   OLDE VIRGINIA
 509      JMar       MARIAN, JOSHUA     9/3/2015      MS CONTIN/30MG          90                          TAZEWELL        VA
                                                                                   PHARMACY
                                                                                   OLDE VIRGINIA
 510      JMar       MARIAN, JOSHUA     9/3/2015      OXYCODONE/30MG          90                          TAZEWELL        VA
                                                                                   PHARMACY
                                                                                   VIRGINIA CVS
 511      JMar       MARIAN, JOSHUA     10/1/2015     OXYCODONE/20MG          90                          LYNCHBURG       VA
                                                                                   PHARMACY, L.L.C.

 512      JMar       MARIAN, JOSHUA     4/13/2016      OPANA ER/10MG          60   BUFFALO DRUG            BUFFALO       WV

                                                                                   OLDE VIRGINIA
 513      JMar       MARIAN, JOSHUA     4/13/2016     OXYCODONE/10MG          60                          TAZEWELL        VA
                                                                                   PHARMACY

 514      JMar       MARIAN, JOSHUA     5/11/2016     OXYCODONE/20MG          45   BUFFALO DRUG            BUFFALO       WV

 515      JMar       MARIAN, JOSHUA     5/11/2016    OXYMORPHONE/20MG         60   BUFFALO DRUG            BUFFALO       WV

 516      JMar       MARIAN, JOSHUA     6/8/2016      OXYCODONE/20MG          45   BUFFALO DRUG            BUFFALO       WV

 517      JMar       MARIAN, JOSHUA     6/8/2016     OXYMORPHONE/20MG         60   BUFFALO DRUG            BUFFALO       WV

 518      JMar       MARIAN, JOSHUA     7/7/2016      OXYCODONE/20MG          45   BUFFALO DRUG            BUFFALO       WV

 519      JMar       MARIAN, JOSHUA     7/7/2016     OXYMORPHONE/20MG         60   BUFFALO DRUG            BUFFALO       WV

                                                                                   MIKE'S BEST PRACTICE
 520      JMar       MARIAN, JOSHUA     8/9/2016      OXYCODONE/20MG          45
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 521      JMar       MARIAN, JOSHUA     8/9/2016     OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 522      JMar       MARIAN, JOSHUA     9/26/2016     OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 523      JMar       MARIAN, JOSHUA     9/26/2016    OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 524      JMar       MARIAN, JOSHUA     11/1/2016     OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 525      JMar       MARIAN, JOSHUA     11/1/2016    OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 526      JMar       MARIAN, JOSHUA     12/1/2016     OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 527      JMar       MARIAN, JOSHUA     12/1/2016    OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 528      JMar       MARIAN, JOSHUA     12/30/2016    OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 529      JMar       MARIAN, JOSHUA     12/30/2016   OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 530      JMar       MARIAN, JOSHUA     1/26/2017     OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                       PHARMACY          PHARMACY     PHARMACY
COUNT WAS WRITTEN        NAME             DATE        DRUG PRESCRIBED        QTY          NAME              CITY         STATE
                                                                                   MIKE'S BEST PRACTICE
 531      JMar       MARIAN, JOSHUA     1/26/2017    OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   OLDE VIRGINIA
 532      JMar       MARIAN, JOSHUA     2/28/2017     OXYCODONE/30MG          10                          TAZEWELL        VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 533      JMar       MARIAN, JOSHUA     2/28/2017     OXYCODONE/30MG          30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 534      JMar       MARIAN, JOSHUA     2/28/2017    OXYMORPHONE/20MG         60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 535      JMay       MAYNARD, JERRY     9/9/2015      OXYCODONE/30MG         120                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 536      JMay       MAYNARD, JERRY     9/9/2015     OXYMORPHONE/40MG         60                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 537      JMay       MAYNARD, JERRY     10/7/2015     OXYCODONE/20MG          90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 538      JMay       MAYNARD, JERRY     10/7/2015    OXYMORPHONE/40MG         90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 539      JMay       MAYNARD, JERRY     11/5/2015     OXYCODONE/20MG          60                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 540      JMay       MAYNARD, JERRY     11/5/2015    OXYMORPHONE/40MG         90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 541      JMay       MAYNARD, JERRY     11/30/2015    OXYCODONE/20MG          45                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 542      JMay       MAYNARD, JERRY     11/30/2015   OXYMORPHONE/40MG         90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 543      JMay       MAYNARD, JERRY     1/5/2016       OPANA ER/40MG          90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 544      JMay       MAYNARD, JERRY     1/5/2016      OXYCODONE/20MG          30                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 545      JMay       MAYNARD, JERRY     2/4/2016      OXYCODONE/20MG          30                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 546      JMay       MAYNARD, JERRY     2/4/2016     OXYMORPHONE/40MG         90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 547      JMay       MAYNARD, JERRY     3/1/2016      OXYCODONE/30MG          30                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 548      JMay       MAYNARD, JERRY     3/1/2016     OXYMORPHONE/40MG         90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 549      JMay       MAYNARD, JERRY     3/31/2016      OPANA ER/40MG          90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 550      JMay       MAYNARD, JERRY     3/31/2016     OXYCODONE/30MG          30                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 551      JMay       MAYNARD, JERRY     4/27/2016      OPANA ER/40MG          90                             POCA        WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 552      JMay       MAYNARD, JERRY     4/27/2016     OXYCODONE/30MG          30                             POCA        WV
                                                                                   PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                              PHARMACY          PHARMACY      PHARMACY
COUNT WAS WRITTEN        NAME             DATE           DRUG PRESCRIBED            QTY          NAME              CITY          STATE
                                                                                          POCA VALU-RITE
 553      JMay       MAYNARD, JERRY     5/26/2016      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 554      JMay       MAYNARD, JERRY     6/27/2016        OXYCODONE/20MG             45                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 555      JMay       MAYNARD, JERRY     6/27/2016      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 556      JMay       MAYNARD, JERRY     7/26/2016        OXYCODONE/20MG             45                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 557      JMay       MAYNARD, JERRY     7/26/2016      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 558      JMay       MAYNARD, JERRY     8/24/2016        OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 559      JMay       MAYNARD, JERRY     8/24/2016      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 560      JMay       MAYNARD, JERRY     9/22/2016        OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 561      JMay       MAYNARD, JERRY     9/22/2016      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 562      JMay       MAYNARD, JERRY     10/24/2016       OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 563      JMay       MAYNARD, JERRY     10/24/2016     OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 564      JMay       MAYNARD, JERRY     11/22/2016       OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 565      JMay       MAYNARD, JERRY     11/22/2016     OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 566      JMay       MAYNARD, JERRY     12/20/2016       OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 567      JMay       MAYNARD, JERRY     12/20/2016     OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 568      JMay       MAYNARD, JERRY     1/17/2017        OXYCODONE/20MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 569      JMay       MAYNARD, JERRY     1/17/2017      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                        OXYCODONE / 20MG                  MIKE'S BEST PRACTICE
 570      JMay       MAYNARD, JERRY     2/14/2017                                   30                           WYTHEVILLE       VA
                                                     OXYCODONE/30MG in indictment         PHARMACY
                                                                                          MIKE'S BEST PRACTICE
 571      JMay       MAYNARD, JERRY     2/14/2017      OXYMORPHONE/40MG             90                           WYTHEVILLE       VA
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 572      JMay       MAYNARD, JERRY     4/11/2017        OXYCODONE/30MG             30                              POCA         WV
                                                                                          PHARMACY
                                                                                          POCA VALU-RITE
 573      JMay       MAYNARD, JERRY     4/11/2017      OXYMORPHONE/40MG             90                              POCA         WV
                                                                                          PHARMACY
                                                                                          CROSS LANES FAMILY
 574      JMay       MAYNARD, JERRY     7/5/2017         OXYCODONE/20MG             90                           CROSS LANES     WV
                                                                                          PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                      APPROXIMATE                                            PHARMACY          PHARMACY       PHARMACY
COUNT WAS WRITTEN         NAME              DATE            DRUG PRESCRIBED         QTY          NAME              CITY           STATE
                                                                                          CROSS LANES FAMILY
 575      JMay        MAYNARD, JERRY      7/5/2017        OXYMORPHONE/40MG          60                          CROSS LANES       WV
                                                                                          PHARMACY
                                                                                          CROSS LANES FAMILY
 576      JMay        MAYNARD, JERRY      8/2/2017          OXYCODONE/20MG          85                          CROSS LANES       WV
                                                                                          PHARMACY
                                                                                          CROSS LANES FAMILY
 577      JMay        MAYNARD, JERRY      8/2/2017        OXYMORPHONE/40MG          60                          CROSS LANES       WV
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 578       AM         MILES, AMANDA       9/9/2015          MS CONTIN/15MG          60                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 579       AM         MILES, AMANDA       9/9/2015         OXYCODONE / 20MG         120                          TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 580       AM         MILES, AMANDA       10/8/2015     MORPHINE SULFATE / 30MG     60                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 581       AM         MILES, AMANDA       10/8/2015        OXYCODONE / 20MG         90                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          KENTUCKIANA
 582       AM         MILES, AMANDA       11/12/2015   FENTANYL PATCH / 50MCG/HR    10                         JEFFERSONVILLE      IN
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 583       AM         MILES, AMANDA       11/12/2015       OXYCODONE / 20MG         90                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 584       AM         MILES, AMANDA       12/15/2015   FENTANYL PATCH / 50MCG/HR    10                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          OLDE VIRGINIA
 585       AM         MILES, AMANDA       12/15/2015       OXYCODONE / 20MG         60                           TAZEWELL          VA
                                                                                          PHARMACY
                                                                                          MODERN PHARMACY
 586      ChM        MILLER, CHARLENE     9/23/2015     MORPHINE SULFATE/15MG       90                           DANVILLE          VA
                                                                                          INC
                                                                                          VIRGINIA CVS
 587      ChM        MILLER, CHARLENE     10/21/2015         DILAUDID/8MG           60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 588      ChM        MILLER, CHARLENE     10/21/2015    MORPHINE SULFATE/30MG       90                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 589      ChM        MILLER, CHARLENE     11/20/2015         DILAUDID/8MG           60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 590      ChM        MILLER, CHARLENE     11/20/2015    MORPHINE SULFATE/60MG       60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 591      ChM        MILLER, CHARLENE     12/21/2015         DILAUDID/8MG           60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 592      ChM        MILLER, CHARLENE     12/21/2015   DURAGESIC PATCH / 75MCG/HR   10                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 593      ChM        MILLER, CHARLENE     1/21/2016          DILAUDID/8MG           60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 594      ChM        MILLER, CHARLENE     3/29/2016          OPANA ER/20MG          60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 595      ChM        MILLER, CHARLENE     4/27/2016          DILAUDID/4MG           60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.
                                                                                          VIRGINIA CVS
 596      ChM        MILLER, CHARLENE     4/27/2016          OPANA ER/20MG          60                           DANVILLE          VA
                                                                                          PHARMACY, L.L.C.




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                             APPROXIMATE                                                PHARMACY        PHARMACY       PHARMACY
COUNT WAS WRITTEN             NAME                 DATE            DRUG PRESCRIBED             QTY          NAME            CITY           STATE
                                                                                                     VIRGINIA CVS
 597      ChM           MILLER, CHARLENE         5/26/2016           DILAUDID/4MG              60                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                OXYMORPHONE / 20MG                   VIRGINIA CVS
 598      ChM           MILLER, CHARLENE         5/26/2016                                     60                         DANVILLE          VA
                                                              OXYMORPHONE/10MG in indictment         PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 599      ChM           MILLER, CHARLENE         6/22/2016           DILAUDID/4MG              60                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 600      ChM           MILLER, CHARLENE         6/22/2016       OXYMORPHONE/20MG              60                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 601      ChM           MILLER, CHARLENE         7/26/2016           DILAUDID/4MG              60                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 602      ChM           MILLER, CHARLENE         7/26/2016       OXYMORPHONE/20MG              60                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 603      ChM           MILLER, CHARLENE         8/29/2016         OXYCODONE/20MG               7                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     VIRGINIA CVS
 604      ChM           MILLER, CHARLENE         8/29/2016         OXYCODONE/20MG              21                         DANVILLE          VA
                                                                                                     PHARMACY, L.L.C.
                                                                                                     OLDE VIRGINIA
 605      CoM        MILLER, CONNIE RASHELLE     9/15/2015         OXYCODONE/15MG              90                         TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 606      CoM        MILLER, CONNIE RASHELLE     10/20/2015        OXYCODONE/15MG              60                         TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 607      CoM        MILLER, CONNIE RASHELLE     10/20/2015      OXYMORPHONE/20MG              60                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 608      CoM        MILLER, CONNIE RASHELLE     11/23/2015        OXYCODONE/20MG              45                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 609      CoM        MILLER, CONNIE RASHELLE     11/23/2015      OXYMORPHONE/30MG              60                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 610      CoM        MILLER, CONNIE RASHELLE     12/23/2015        OXYCODONE/20MG              30                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 611      CoM        MILLER, CONNIE RASHELLE     12/23/2015      OXYMORPHONE/40MG              60                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 612      CoM        MILLER, CONNIE RASHELLE     1/19/2016         OXYCODONE/20MG              20                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 613      CoM        MILLER, CONNIE RASHELLE     1/19/2016       OXYMORPHONE/40MG              60                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 614      CoM        MILLER, CONNIE RASHELLE     2/3/2016          OXYCODONE/20MG              15                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 615      CoM        MILLER, CONNIE RASHELLE     2/3/2016        OXYMORPHONE/40MG              60                       JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 616      CoM        MILLER, CONNIE RASHELLE     3/22/2016         OXYCODONE/30MG              120                        TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 617      CoM        MILLER, CONNIE RASHELLE     4/21/2016         OXYCODONE/20MG              60                         TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 618      CoM        MILLER, CONNIE RASHELLE     4/25/2016         OXYCODONE/30MG              60                         TAZEWELL          VA
                                                                                                     PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                             APPROXIMATE                                                PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN             NAME                 DATE            DRUG PRESCRIBED             QTY          NAME                CITY           STATE
                                                                                                     OLDE VIRGINIA
 619      CoM        MILLER, CONNIE RASHELLE     5/18/2016         OXYCODONE/30MG              150                            TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 620      CoM        MILLER, CONNIE RASHELLE     6/14/2016         OXYCODONE/20MG              15                           JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     KENTUCKIANA
 621      CoM        MILLER, CONNIE RASHELLE     6/14/2016       OXYMORPHONE/40MG              60                           JEFFERSONVILLE      IN
                                                                                                     PHARMACY
                                                                                                     MIKE'S BEST PRACTICE
 622      CoM        MILLER, CONNIE RASHELLE     7/25/2016         OXYCODONE/10MG              30                            WYTHEVILLE         VA
                                                                                                     PHARMACY
                                                                                                     MIKE'S BEST PRACTICE
 623      CoM        MILLER, CONNIE RASHELLE     7/25/2016       OXYMORPHONE/40MG              60                            WYTHEVILLE         VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 624      CoM        MILLER, CONNIE RASHELLE     8/23/2016         OXYCODONE/20MG               7                             TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 625      CoM        MILLER, CONNIE RASHELLE     8/23/2016         OXYCODONE/20MG              15                             TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     OLDE VIRGINIA
 626      CoM        MILLER, CONNIE RASHELLE     8/23/2016         OXYCODONE/20MG              20                             TAZEWELL          VA
                                                                                                     PHARMACY
                                                                                                     MIKE'S BEST PRACTICE
 627      CoM        MILLER, CONNIE RASHELLE     8/23/2016         OXYCODONE/20MG              30                            WYTHEVILLE         VA
                                                                                                     PHARMACY

 628       JMo          MOORE, JENNIFER          11/9/2015         OXYCODONE/15MG              75    BUFFALO DRUG              BUFFALO         WV

 629       JMo          MOORE, JENNIFER          11/9/2015       OXYMORPHONE/30MG              60    BUFFALO DRUG              BUFFALO         WV

 630       JMo          MOORE, JENNIFER          12/14/2015        OXYCODONE/15MG              60    BUFFALO DRUG              BUFFALO         WV

 631       JMo          MOORE, JENNIFER          12/14/2015      OXYMORPHONE/30MG              60    BUFFALO DRUG              BUFFALO         WV

 632       JMo          MOORE, JENNIFER          1/13/2016         OXYCODONE/15MG              60    BUFFALO DRUG              BUFFALO         WV

                                                                                                     KENTUCKIANA
 633       JMo          MOORE, JENNIFER          1/13/2016       OXYMORPHONE/30MG              60                           JEFFERSONVILLE      IN
                                                                                                     PHARMACY

 634       JMo          MOORE, JENNIFER          2/12/2016         OXYCODONE/10MG              60    BUFFALO DRUG              BUFFALO         WV

                                                                   OPANA ER / 40MG
 635       JMo          MOORE, JENNIFER          2/12/2016                                     60    BUFFALO DRUG              BUFFALO         WV
                                                              OXYMORPHONE/40MG in indictment

 636       JMo          MOORE, JENNIFER          3/16/2016          OPANA ER/40MG              60    BUFFALO DRUG              BUFFALO         WV

 637       JMo          MOORE, JENNIFER          3/16/2016         OXYCODONE/10MG              45    BUFFALO DRUG              BUFFALO         WV

 638       JMo          MOORE, JENNIFER          4/14/2016          OPANA ER/40MG              60    BUFFALO DRUG              BUFFALO         WV

 639       JMo          MOORE, JENNIFER          4/14/2016         OXYCODONE/20MG              30    BUFFALO DRUG              BUFFALO         WV

 640       JMo          MOORE, JENNIFER          5/12/2016         OXYCODONE/20MG              30    BUFFALO DRUG              BUFFALO         WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                      PHARMACY          PHARMACY     PHARMACY
COUNT WAS WRITTEN         NAME             DATE        DRUG PRESCRIBED       QTY          NAME              CITY         STATE

 641       JMo       MOORE, JENNIFER     5/12/2016    OXYMORPHONE/40MG        60   BUFFALO DRUG            BUFFALO       WV

 642       JMo       MOORE, JENNIFER     6/9/2016      OXYCODONE/20MG         20   BUFFALO DRUG            BUFFALO       WV

 643       JMo       MOORE, JENNIFER     6/9/2016     OXYMORPHONE/40MG        60   BUFFALO DRUG            BUFFALO       WV

 644       JMo       MOORE, JENNIFER     7/11/2016     OXYCODONE/20MG         15   BUFFALO DRUG            BUFFALO       WV

 645       JMo       MOORE, JENNIFER     7/11/2016    OXYMORPHONE/40MG        60   BUFFALO DRUG            BUFFALO       WV

 646       JMo       MOORE, JENNIFER     8/8/2016      OXYCODONE/20MG         15   BUFFALO DRUG            BUFFALO       WV

 647       JMo       MOORE, JENNIFER     8/8/2016     OXYMORPHONE/40MG        60   BUFFALO DRUG            BUFFALO       WV

                                                                                   MIKE'S BEST PRACTICE
 648       JMo       MOORE, JENNIFER     9/8/2016      OXYCODONE/20MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 649       JMo       MOORE, JENNIFER     9/8/2016     OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 650       JMo       MOORE, JENNIFER     10/10/2016    OXYCODONE/20MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 651       JMo       MOORE, JENNIFER     10/10/2016   OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 652       JMo       MOORE, JENNIFER     11/10/2016    OXYCODONE/20MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 653       JMo       MOORE, JENNIFER     11/10/2016   OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 654       JMo       MOORE, JENNIFER     12/12/2016    OXYCODONE/20MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 655       JMo       MOORE, JENNIFER     12/12/2016   OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 656       JMo       MOORE, JENNIFER     1/9/2017      OXYCODONE/15MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 657       JMo       MOORE, JENNIFER     1/9/2017     OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 658       JMo       MOORE, JENNIFER     2/7/2017      OXYCODONE/15MG         30                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 659       JMo       MOORE, JENNIFER     2/7/2017     OXYMORPHONE/40MG        60                          WYTHEVILLE      VA
                                                                                   PHARMACY
                                                                                   WAL-MART PHARMACY
 660       JMo       MOORE, JENNIFER     4/11/2017     OXYCODONE/15MG         30                            LOUISA        KY
                                                                                   10-4461
                                                                                   WAL-MART PHARMACY
 661       SM        MULLINS, SHARON     9/2/2015      MS CONTIN / 15MG       60                           ROANOKE        VA
                                                                                   10-1301
                                                                                   WAL-MART PHARMACY
 662       SM        MULLINS, SHARON     9/2/2015     OXYCODONE / 30MG        90                           ROANOKE        VA
                                                                                   10-1301




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                         APPROXIMATE                                            PHARMACY          PHARMACY     PHARMACY
COUNT WAS WRITTEN          NAME                DATE           DRUG PRESCRIBED         QTY           NAME              CITY         STATE
                                                                                            WAL-MART PHARMACY
 663       SM        MULLINS, SHARON         10/1/2015        OXYCODONE / 30MG        120                            ROANOKE        VA
                                                                                            10-1301
                                                                                            RITE AID OF VIRGINIA,
 664       SM        MULLINS, SHARON          1/8/2016    FENTANYL PATCH / 25MCG/HR   10                             PULASKI        VA
                                                                                            INC.
                                                                                            RITE AID OF VIRGINIA,
 665       SM        MULLINS, SHARON          1/8/2016        OXYCODONE / 20MG        75                            WYTHEVILLE      VA
                                                                                            INC.
                                                                                            POCA VALU-RITE
 666       BP        PARSLEY, BILLY JACK     9/3/2015         OXYCODONE/15MG          120                              POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 667       BP        PARSLEY, BILLY JACK     9/3/2015        OXYMORPHONE/20MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 668       BP        PARSLEY, BILLY JACK     10/1/2015        OXYCODONE/15MG          60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 669       BP        PARSLEY, BILLY JACK     10/1/2015       OXYMORPHONE/20MG         90                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 670       BP        PARSLEY, BILLY JACK     10/28/2015       OXYCODONE/20MG          45                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 671       BP        PARSLEY, BILLY JACK     10/28/2015      OXYMORPHONE/30MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 672       BP        PARSLEY, BILLY JACK     11/24/2015       OXYCODONE/20MG          30                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 673       BP        PARSLEY, BILLY JACK     11/24/2015      OXYMORPHONE/40MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 674       BP        PARSLEY, BILLY JACK     12/22/2015       OXYCODONE/20MG          20                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 675       BP        PARSLEY, BILLY JACK     12/22/2015      OXYMORPHONE/40MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 676       BP        PARSLEY, BILLY JACK     1/20/2016       OXYMORPHONE/40MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 677       BP        PARSLEY, BILLY JACK     1/20/2016        PERCOCET/10/325MG       30                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 678       BP        PARSLEY, BILLY JACK     2/23/2016        OXYCODONE/15MG          30                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 679       BP        PARSLEY, BILLY JACK     2/23/2016       OXYMORPHONE/40MG         60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 680       BP        PARSLEY, BILLY JACK     3/21/2016         OPANA ER/40MG          60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 681       BP        PARSLEY, BILLY JACK     3/21/2016        OXYCODONE/15MG          30                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 682       BP        PARSLEY, BILLY JACK     4/21/2016         OPANA ER/40MG          60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 683       BP        PARSLEY, BILLY JACK     4/21/2016        OXYCODONE/15MG          60                               POCA        WV
                                                                                            PHARMACY
                                                                                            POCA VALU-RITE
 684       BP        PARSLEY, BILLY JACK     5/19/2016        OXYCODONE/20MG          45                               POCA        WV
                                                                                            PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                         APPROXIMATE                                     PHARMACY    PHARMACY   PHARMACY
COUNT WAS WRITTEN          NAME                DATE        DRUG PRESCRIBED      QTY          NAME        CITY       STATE
                                                                                      POCA VALU-RITE
 685       BP        PARSLEY, BILLY JACK     5/19/2016    OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 686       BP        PARSLEY, BILLY JACK     6/20/2016     OXYCODONE/20MG       45                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 687       BP        PARSLEY, BILLY JACK     6/20/2016    OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 688       BP        PARSLEY, BILLY JACK     7/18/2016     OXYCODONE/20MG       30                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 689       BP        PARSLEY, BILLY JACK     7/18/2016    OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 690       BP        PARSLEY, BILLY JACK     8/17/2016     OXYCODONE/15MG       45                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 691       BP        PARSLEY, BILLY JACK     8/17/2016    OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 692       BP        PARSLEY, BILLY JACK     9/15/2016     OXYCODONE/20MG       50                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 693       BP        PARSLEY, BILLY JACK     9/15/2016    OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 694       BP        PARSLEY, BILLY JACK     10/18/2016    OXYCODONE/20MG       45                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 695       BP        PARSLEY, BILLY JACK     10/18/2016   OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 696       BP        PARSLEY, BILLY JACK     11/15/2016    OXYCODONE/20MG       45                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 697       BP        PARSLEY, BILLY JACK     11/15/2016    OXYCODONE/20MG       45                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 698       BP        PARSLEY, BILLY JACK     11/15/2016   OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 699       BP        PARSLEY, BILLY JACK     12/14/2016   OXYMORPHONE/40MG      60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 700       JP         PARSLEY, JESSICA       4/21/2016      OPANA ER/20MG       60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 701       JP         PARSLEY, JESSICA       4/21/2016     OXYCODONE/10MG       30                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 702       JP         PARSLEY, JESSICA       5/19/2016     OXYCODONE/20MG       22                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 703       JP         PARSLEY, JESSICA       6/20/2016     OXYCODONE/20MG       60                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 704       JP         PARSLEY, JESSICA       6/29/2016    OXYMORPHONE/20MG      40                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 705       JP         PARSLEY, JESSICA       7/18/2016     OXYCODONE/20MG       50                         POCA     WV
                                                                                      PHARMACY
                                                                                      POCA VALU-RITE
 706       JP         PARSLEY, JESSICA       7/18/2016    OXYMORPHONE/30MG      60                         POCA     WV
                                                                                      PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                       APPROXIMATE                                                    PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME              DATE          DRUG PRESCRIBED           QTY                  NAME          CITY           STATE
                                                                                                   POCA VALU-RITE
 707       JP         PARSLEY, JESSICA     8/17/2016      OXYCODONE/20MG              50                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 708       JP         PARSLEY, JESSICA     8/17/2016     OXYMORPHONE/30MG             60                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 709       JP         PARSLEY, JESSICA     9/15/2016      OXYCODONE/30MG              45                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 710       JP         PARSLEY, JESSICA     9/15/2016     OXYMORPHONE/30MG             60                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 711       JP         PARSLEY, JESSICA     10/18/2016     OXYCODONE/30MG              30                                POCA           WV
                                                                                                   PHARMACY
                                                                                       60          POCA VALU-RITE
 712       JP         PARSLEY, JESSICA     10/18/2016    OXYMORPHONE/30MG                                               POCA           WV
                                                                                30 in indictment   PHARMACY
                                                                                                   POCA VALU-RITE
 713       JP         PARSLEY, JESSICA     11/15/2016     OXYCODONE/30MG              30                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 714       JP         PARSLEY, JESSICA     11/15/2016    OXYMORPHONE/30MG             60                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 715       JP         PARSLEY, JESSICA     12/14/2016     OXYCODONE/30MG              30                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 716       JP         PARSLEY, JESSICA     12/14/2016    OXYMORPHONE/30MG             60                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 717       DR        REYNOLDS, DEBORAH     10/15/2015      OXYCODONE/15MG             90                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   POCA VALU-RITE
 718       DR        REYNOLDS, DEBORAH     10/15/2015    OXYMORPHONE/20MG             90                                POCA           WV
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 719       DR        REYNOLDS, DEBORAH     11/23/2015     OXYCODONE/20MG              60                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 720       DR        REYNOLDS, DEBORAH     11/23/2015    OXYMORPHONE/30MG             90                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY

 721       DR        REYNOLDS, DEBORAH     1/6/2016       OXYCODONE/20MG              45           BUFFALO DRUG        BUFFALO         WV

 722       DR        REYNOLDS, DEBORAH     1/6/2016      OXYMORPHONE/40MG             60           BUFFALO DRUG        BUFFALO         WV

                                                                                                   KENTUCKIANA
 723       DR        REYNOLDS, DEBORAH     2/3/2016       OXYCODONE/20MG              30                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 724       DR        REYNOLDS, DEBORAH     2/3/2016      OXYMORPHONE/40MG             60                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 725       MS         SMITH, MICHELLE      11/30/2015   MORPHINE SULFATE/15MG         60                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 726       MS         SMITH, MICHELLE      11/30/2015      OXYCODONE/10MG             30                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 727       MS         SMITH, MICHELLE      1/4/2016        MS CONTIN/15MG             60                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY
                                                                                                   KENTUCKIANA
 728       MS         SMITH, MICHELLE      1/4/2016        OXYCODONE/10MG             30                            JEFFERSONVILLE      IN
                                                                                                   PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                     APPROXIMATE                                            PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN         NAME             DATE            DRUG PRESCRIBED         QTY          NAME          CITY           STATE
                                                                                         KENTUCKIANA
 729       MS        SMITH, MICHELLE     1/29/2016         OXYCODONE/10MG          30                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 730       MS        SMITH, MICHELLE     1/29/2016       OXYMORPHONE/20MG          60                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 731       MS        SMITH, MICHELLE     2/26/2016          OPANA ER/30MG          60                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 732       MS        SMITH, MICHELLE     2/26/2016         OXYCODONE/10MG          30                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 733       MS        SMITH, MICHELLE     3/24/2016         OXYCODONE/30MG          120                      TAZEWELL          VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 734       MS        SMITH, MICHELLE     4/25/2016         OXYCODONE/30MG          120                      TAZEWELL          VA
                                                                                         PHARMACY
                                                                                         OLDE VIRGINIA
 735       MS        SMITH, MICHELLE     5/23/2016         OXYCODONE/30MG          120                      TAZEWELL          VA
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 736       MS        SMITH, MICHELLE     6/21/2016         OXYCODONE/20MG          45                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 737       MS        SMITH, MICHELLE     6/21/2016       OXYMORPHONE/30MG          60                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 738       MS        SMITH, MICHELLE     7/18/2016         OXYCODONE/20MG          40                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 739       MS        SMITH, MICHELLE     7/18/2016       OXYMORPHONE/30MG          60                     JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 740       ST        TURNER, STANCY      8/15/2016    DURAGESIC PATCH / 12MCG/HR   10                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 741       ST        TURNER, STANCY      8/15/2016         OXYCODONE/30MG          120                        POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 742       ST        TURNER, STANCY      9/15/2016         OXYCODONE/30MG          120                        POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 743       ST        TURNER, STANCY      9/15/2016        OXYMORPHONE/5MG          60                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 744       ST        TURNER, STANCY      10/17/2016        OXYCODONE/30MG          120                        POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 745       ST        TURNER, STANCY      10/17/2016      OXYMORPHONE/10MG          60                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 746       ST        TURNER, STANCY      11/21/2016        OXYCODONE/30MG          105                        POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 747       ST        TURNER, STANCY      12/21/2016        OXYCODONE/20MG          24                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 748       ST        TURNER, STANCY      12/21/2016      OXYMORPHONE/20MG          16                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 749       ST        TURNER, STANCY      12/30/2016        OXYCODONE/30MG          60                         POCA           WV
                                                                                         PHARMACY
                                                                                         POCA VALU-RITE
 750       ST        TURNER, STANCY      12/30/2016      OXYMORPHONE/20MG          60                         POCA           WV
                                                                                         PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                       PHARMACY           PHARMACY      PHARMACY
COUNT WAS WRITTEN        NAME             DATE        DRUG PRESCRIBED        QTY          NAME               CITY          STATE
                                                                                   POCA VALU-RITE
 751       ST        TURNER, STANCY     1/26/2017     OXYCODONE/30MG          55                             POCA          WV
                                                                                   PHARMACY
                                                                                   POCA VALU-RITE
 752       ST        TURNER, STANCY     1/26/2017    OXYMORPHONE/20MG         60                             POCA          WV
                                                                                   PHARMACY
                                                                                   MIKE'S BEST PRACTICE
 753       ST        TURNER, STANCY     2/23/2017     OXYCODONE/30MG          45                          WYTHEVILLE        VA
                                                                                   PHARMACY
                                                                                   MARROWBONE FAMILY
 754       ST        TURNER, STANCY     4/19/2017     OXYCODONE/30MG          60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   MARROWBONE FAMILY
 755       ST        TURNER, STANCY     4/19/2017    OXYMORPHONE/30MG         60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   MARROWBONE FAMILY
 756       ST        TURNER, STANCY     5/24/2017     OXYCODONE/30MG          60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   MARROWBONE FAMILY
 757       ST        TURNER, STANCY     5/24/2017    OXYMORPHONE/30MG         60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   MARROWBONE FAMILY
 758       ST        TURNER, STANCY     7/6/2017      OXYCODONE/20MG          60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   MARROWBONE FAMILY
 759       ST        TURNER, STANCY     7/6/2017      OXYCONTIN/15MG          60                          ELKHORN CITY      KY
                                                                                   PHARMACY, LLC
                                                                                   WAL-MART PHARMACY
 760       AW        WHITE, ANDRE       9/9/2015      MS CONTIN / 15MG        60                            ROANOKE         VA
                                                                                   10-1301
                                                                                   WAL-MART PHARMACY
 761       AW        WHITE, ANDRE       9/9/2015     OXYCODONE / 30MG        120                            ROANOKE         VA
                                                                                   10-1301

 762       TW        WILEY, THOMAS      8/31/2016     OXYCODONE/30MG          60   WESTSIDE PHARMACY        OCEANA         WV

 763       TW        WILEY, THOMAS      8/31/2016    OXYMORPHONE/30MG         60   WESTSIDE PHARMACY        OCEANA         WV

 764       TW        WILEY, THOMAS      11/3/2016     OXYCODONE/30MG          60   WESTSIDE PHARMACY        OCEANA         WV

 765       TW        WILEY, THOMAS      11/3/2016    OXYMORPHONE/30MG         60   WESTSIDE PHARMACY        OCEANA         WV

 766       TW        WILEY, THOMAS      12/6/2016     OXYCODONE/30MG          60   WESTSIDE PHARMACY        OCEANA         WV

 767       TW        WILEY, THOMAS      12/6/2016    OXYMORPHONE/30MG         60   WESTSIDE PHARMACY        OCEANA         WV

 768       TW        WILEY, THOMAS      1/4/2017      OXYCODONE/30MG          60   WESTSIDE PHARMACY        OCEANA         WV

 769       TW        WILEY, THOMAS      1/4/2017     OXYMORPHONE/30MG         60   WESTSIDE PHARMACY        OCEANA         WV

 770       TW        WILEY, THOMAS      1/31/2017     OXYCODONE/30MG          60   WESTSIDE PHARMACY        OCEANA         WV

 771       TW        WILEY, THOMAS      1/31/2017    OXYMORPHONE/30MG         60   WESTSIDE PHARMACY        OCEANA         WV

 772       TW        WILEY, THOMAS      2/28/2017     OXYCODONE/30MG          55   WESTSIDE PHARMACY        OCEANA         WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                            APPROXIMATE                                     PHARMACY         PHARMACY       PHARMACY
COUNT WAS WRITTEN            NAME                 DATE        DRUG PRESCRIBED      QTY          NAME             CITY           STATE

 773       TW            WILEY, THOMAS          2/28/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 774       TW            WILEY, THOMAS          3/28/2017     OXYCODONE/30MG       50    WESTSIDE PHARMACY      OCEANA          WV

 775       TW            WILEY, THOMAS          3/28/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 776       TW            WILEY, THOMAS          4/25/2017     OXYCODONE/30MG       50    WESTSIDE PHARMACY      OCEANA          WV

 777       TW            WILEY, THOMAS          4/25/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 778       TW            WILEY, THOMAS          5/23/2017     OXYCODONE/30MG       50    WESTSIDE PHARMACY      OCEANA          WV

 779       TW            WILEY, THOMAS          5/23/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 780       TW            WILEY, THOMAS          6/20/2017     OXYCODONE/20MG       60    WESTSIDE PHARMACY      OCEANA          WV

 781       TW            WILEY, THOMAS          6/20/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 782       TW            WILEY, THOMAS          7/14/2017     OXYCODONE/20MG       55    WESTSIDE PHARMACY      OCEANA          WV

 783       TW            WILEY, THOMAS          7/14/2017    OXYMORPHONE/30MG      60    WESTSIDE PHARMACY      OCEANA          WV

 784       DWi       WILLIAMS, DARRYL KEITH     8/31/2015     OXYCODONE/30MG       120   BUFFALO DRUG           BUFFALO         WV

 785       DWi       WILLIAMS, DARRYL KEITH     8/31/2015    OXYMORPHONE/40MG      60    BUFFALO DRUG           BUFFALO         WV

 786       DWi       WILLIAMS, DARRYL KEITH     9/25/2015     OXYCODONE/20MG       60    BUFFALO DRUG           BUFFALO         WV

 787       DWi       WILLIAMS, DARRYL KEITH     9/25/2015    OXYMORPHONE/40MG      90    BUFFALO DRUG           BUFFALO         WV

                                                                                         KENTUCKIANA
 788       DWi       WILLIAMS, DARRYL KEITH     10/15/2015    OXYCODONE/15MG       90                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 789       DWi       WILLIAMS, DARRYL KEITH     10/15/2015   OXYMORPHONE/40MG      90                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 790       DWi       WILLIAMS, DARRYL KEITH     11/23/2015    OXYCODONE/20MG       60                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 791       DWi       WILLIAMS, DARRYL KEITH     11/23/2015   OXYMORPHONE/40MG      90                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 792       DWi       WILLIAMS, DARRYL KEITH     12/21/2015    OXYCODONE/20MG       50                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 793       DWi       WILLIAMS, DARRYL KEITH     12/21/2015   OXYMORPHONE/40MG      90                        JEFFERSONVILLE      IN
                                                                                         PHARMACY
                                                                                         KENTUCKIANA
 794       DWi       WILLIAMS, DARRYL KEITH     1/19/2016     OXYCODONE/20MG       15                        JEFFERSONVILLE      IN
                                                                                         PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                            APPROXIMATE                                    PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN            NAME                 DATE       DRUG PRESCRIBED      QTY          NAME          CITY           STATE
                                                                                        KENTUCKIANA
 795       DWi       WILLIAMS, DARRYL KEITH     1/19/2016   OXYMORPHONE/40MG      90                     JEFFERSONVILLE      IN
                                                                                        PHARMACY
                                                                                        KENTUCKIANA
 796       DWi       WILLIAMS, DARRYL KEITH     2/3/2016     OXYCODONE/15MG       10                     JEFFERSONVILLE      IN
                                                                                        PHARMACY
                                                                                        KENTUCKIANA
 797       DWi       WILLIAMS, DARRYL KEITH     2/3/2016    OXYMORPHONE/40MG      90                     JEFFERSONVILLE      IN
                                                                                        PHARMACY
                                                                                        OLDE VIRGINIA
 798       DWi       WILLIAMS, DARRYL KEITH     3/22/2016    OXYCODONE/30MG       150                      TAZEWELL          VA
                                                                                        PHARMACY

 799       DWi       WILLIAMS, DARRYL KEITH     4/21/2016     OPANA ER/40MG       60    BUFFALO DRUG         BUFFALO        WV

 800       DWi       WILLIAMS, DARRYL KEITH     4/21/2016    OXYCODONE/30MG       60    BUFFALO DRUG         BUFFALO        WV

                                                                                        OLDE VIRGINIA
 801       DWi       WILLIAMS, DARRYL KEITH     5/18/2016    OXYCODONE/20MG       14                       TAZEWELL          VA
                                                                                        PHARMACY
                                                                                        OLDE VIRGINIA
 802       DWi       WILLIAMS, DARRYL KEITH     5/18/2016    OXYCODONE/20MG       24                       TAZEWELL          VA
                                                                                        PHARMACY
                                                                                        OLDE VIRGINIA
 803       DWi       WILLIAMS, DARRYL KEITH     5/18/2016    OXYCODONE/20MG       35                       TAZEWELL          VA
                                                                                        PHARMACY

 804       FW         WILLIAMS, FRANKLIN        8/31/2015     OPANA ER/40MG       60    BUFFALO DRUG         BUFFALO        WV

                                                                                        OLDE VIRGINIA
 805       FW         WILLIAMS, FRANKLIN        8/31/2015    OXYCODONE/30MG       120                      TAZEWELL          VA
                                                                                        PHARMACY
                                                                                        KENTUCKIANA
 806       FW         WILLIAMS, FRANKLIN        11/5/2015    OXYCODONE/15MG       30                     JEFFERSONVILLE      IN
                                                                                        PHARMACY
                                                                                        KENTUCKIANA
 807       FW         WILLIAMS, FRANKLIN        11/5/2015   OXYMORPHONE/30MG      90                     JEFFERSONVILLE      IN
                                                                                        PHARMACY

 808       FW         WILLIAMS, FRANKLIN        12/2/2015    OXYCODONE/15MG       20    BUFFALO DRUG         BUFFALO        WV

                                                                                        KENTUCKIANA
 809       FW         WILLIAMS, FRANKLIN        12/2/2015   OXYMORPHONE/40MG      90                     JEFFERSONVILLE      IN
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 810       FW         WILLIAMS, FRANKLIN        1/4/2016      OPANA ER/40MG       90                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 811       FW         WILLIAMS, FRANKLIN        1/29/2016     OPANA ER/40MG       90                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 812       FW         WILLIAMS, FRANKLIN        1/29/2016    OXYCODONE/15MG       15                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 813       FW         WILLIAMS, FRANKLIN        2/26/2016     OPANA ER/40MG       90                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 814       FW         WILLIAMS, FRANKLIN        2/26/2016    OXYCODONE/15MG       15                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 815       FW         WILLIAMS, FRANKLIN        3/31/2016     OPANA ER/40MG       90                          POCA          WV
                                                                                        PHARMACY
                                                                                        POCA VALU-RITE
 816       FW         WILLIAMS, FRANKLIN        3/31/2016    OXYCODONE/10MG       30                          POCA          WV
                                                                                        PHARMACY




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                        APPROXIMATE                                                             PHARMACY      PHARMACY       PHARMACY
COUNT WAS WRITTEN          NAME               DATE            DRUG PRESCRIBED                  QTY                  NAME          CITY           STATE
                                                                                                             POCA VALU-RITE
 817       FW        WILLIAMS, FRANKLIN     5/2/2016           OPANA ER/40MG                    90                                 POCA          WV
                                                                                                             PHARMACY
                                                                                                             OLDE VIRGINIA
 818       FW        WILLIAMS, FRANKLIN     5/2/2016          OXYCODONE/10MG                    30                              TAZEWELL          VA
                                                                                                             PHARMACY
                                                                                                             KENTUCKIANA
 819       FW        WILLIAMS, FRANKLIN     6/6/2016          OXYCODONE/20MG                     7                            JEFFERSONVILLE      IN
                                                                                                             PHARMACY
                                                                                                             KENTUCKIANA
 820       FW        WILLIAMS, FRANKLIN     6/6/2016          OXYCODONE/20MG                    14                            JEFFERSONVILLE      IN
                                                                                                             PHARMACY
                                                                                                             KENTUCKIANA
 821       FW        WILLIAMS, FRANKLIN     6/6/2016          OXYCODONE/20MG                    24                            JEFFERSONVILLE      IN
                                                                                                             PHARMACY
                                                                                                             OLDE VIRGINIA
 822       FW        WILLIAMS, FRANKLIN     6/6/2016          OXYCODONE/20MG                    35                              TAZEWELL          VA
                                                                                                             PHARMACY

 823       WW         WILLIAMS, WESLEY      9/16/2015         OXYCODONE/30MG                    120          HAYES DRUG LLC   NORTH TAZEWELL      VA

 824       WW         WILLIAMS, WESLEY      9/16/2015       OXYMORPHONE/40MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 825       WW         WILLIAMS, WESLEY      10/14/2015        OXYCODONE/30MG                    90           HAYES DRUG LLC   NORTH TAZEWELL      VA

                                                                                                 90
 826       WW         WILLIAMS, WESLEY      10/14/2015      OXYMORPHONE/40MG                                 HAYES DRUG LLC   NORTH TAZEWELL      VA
                                                                                          60 in indictment

 827       WW         WILLIAMS, WESLEY      10/20/2015      OXYMORPHONE/40MG                    30           HAYES DRUG LLC   NORTH TAZEWELL      VA

 828       WW         WILLIAMS, WESLEY      11/10/2015        OXYCODONE/30MG                    75           HAYES DRUG LLC   NORTH TAZEWELL      VA

 829       WW         WILLIAMS, WESLEY      11/10/2015      OXYMORPHONE/40MG                    30           HAYES DRUG LLC   NORTH TAZEWELL      VA

 830       WW         WILLIAMS, WESLEY      11/13/2015      OXYMORPHONE/40MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 831       WW         WILLIAMS, WESLEY      12/15/2015        OXYCODONE/30MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 832       WW         WILLIAMS, WESLEY      12/15/2015      OXYMORPHONE/40MG                    30           HAYES DRUG LLC   NORTH TAZEWELL      VA

 833       WW         WILLIAMS, WESLEY      12/15/2015      OXYMORPHONE/40MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 834       WW         WILLIAMS, WESLEY      1/14/2016         OXYCODONE/30MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 835       WW         WILLIAMS, WESLEY      1/14/2016       OXYMORPHONE/40MG                    30           HAYES DRUG LLC   NORTH TAZEWELL      VA

 836       WW         WILLIAMS, WESLEY      1/14/2016       OXYMORPHONE/40MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

 837       WW         WILLIAMS, WESLEY      2/12/2016         OXYCODONE/20MG                    60           HAYES DRUG LLC   NORTH TAZEWELL      VA

                                                              OPANA ER / 40MG
 838       WW         WILLIAMS, WESLEY      2/12/2016                                           30           HAYES DRUG LLC   NORTH TAZEWELL      VA
                                                         OXYMORPHONE/40MG in indictment




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                      APPROXIMATE                                                PHARMACY            PHARMACY       PHARMACY
COUNT WAS WRITTEN         NAME              DATE            DRUG PRESCRIBED             QTY          NAME                CITY           STATE
                                                            OPANA ER / 40MG
 839       WW        WILLIAMS, WESLEY     2/12/2016                                     60    HAYES DRUG LLC         NORTH TAZEWELL      VA
                                                       OXYMORPHONE/40MG in indictment

 840       WW        WILLIAMS, WESLEY     3/9/2016           OPANA ER/40MG              30    HAYES DRUG LLC         NORTH TAZEWELL      VA

 841       WW        WILLIAMS, WESLEY     3/9/2016           OPANA ER/40MG              60    HAYES DRUG LLC         NORTH TAZEWELL      VA

 842       WW        WILLIAMS, WESLEY     3/9/2016          OXYCODONE/20MG              60    HAYES DRUG LLC         NORTH TAZEWELL      VA

 843       WW        WILLIAMS, WESLEY     4/12/2016          OPANA ER/40MG              90    HAYES DRUG LLC         NORTH TAZEWELL      VA

 844       WW        WILLIAMS, WESLEY     4/12/2016         OXYCODONE/20MG              60    HAYES DRUG LLC         NORTH TAZEWELL      VA

                                                                                              OLDE VIRGINIA
 845      DWo          WOOD, DAVID        9/1/2015          MS CONTIN / 15MG            60                             TAZEWELL          VA
                                                                                              PHARMACY
                                                                                              OLDE VIRGINIA
 846      DWo          WOOD, DAVID        9/1/2015         OXYCODONE / 30MG             120                            TAZEWELL          VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 847       LW        WORKMAN, LARRY       9/15/2016         OXYCODONE/30MG              120                            WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 848       LW        WORKMAN, LARRY       10/18/2016          OPANA ER/5MG              60                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 849       LW        WORKMAN, LARRY       10/18/2016        OXYCODONE/30MG              120                            WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 850       LW        WORKMAN, LARRY       11/17/2016        OXYCODONE/30MG              120                            WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 851       LW        WORKMAN, LARRY       11/17/2016        OXYCONTIN/10MG              30                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 852       LW        WORKMAN, LARRY       12/15/2016        OXYCODONE/30MG              90                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 853       LW        WORKMAN, LARRY       12/15/2016        OXYCONTIN/30MG              60                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 854       LW        WORKMAN, LARRY       1/12/2017         OXYCODONE/30MG              90                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 855       LW        WORKMAN, LARRY       2/7/2017          OXYCODONE/30MG              90                             WYTHEVILLE        VA
                                                                                              PHARMACY
                                                                                              MIKE'S BEST PRACTICE
 856       LW        WORKMAN, LARRY       2/7/2017          OXYCONTIN/20MG              60                             WYTHEVILLE        VA
                                                                                              PHARMACY

 857       LW        WORKMAN, LARRY       3/9/2017          OXYCODONE/30MG              90    RAVENSWOOD DRUG         RAVENSWOOD        WV

 858       LW        WORKMAN, LARRY       3/9/2017          OXYCONTIN/20MG              60    RAVENSWOOD DRUG         RAVENSWOOD        WV

 859       LW        WORKMAN, LARRY       3/31/2017         OXYCODONE/30MG              90    RAVENSWOOD DRUG         RAVENSWOOD        WV

 860       LW        WORKMAN, LARRY       3/31/2017         OXYCONTIN/20MG              60    RAVENSWOOD DRUG         RAVENSWOOD        WV




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       INITIALS OF
        PERSON IN
      WHOSE NAME
      PRESCRIPTION                    APPROXIMATE                                      PHARMACY       PHARMACY    PHARMACY
COUNT WAS WRITTEN        NAME             DATE        DRUG PRESCRIBED        QTY         NAME           CITY        STATE

 861       LW        WORKMAN, LARRY     4/26/2017     OXYCODONE/30MG          90   RAVENSWOOD DRUG   RAVENSWOOD     WV

 862       LW        WORKMAN, LARRY     4/26/2017     OXYCONTIN/20MG          60   RAVENSWOOD DRUG   RAVENSWOOD     WV




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